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                            EXHIBIT J
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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

  Civil Action No. 22-cv-2680-NYW-SKC


  ROCKY MOUNTAIN GUN OWNERS,
  NATIONAL ASSOCIATION FOR GUN RIGHTS,
  CHARLES BRADLEY WALKER,
  BRYAN LAFONTE,
  GORDON MADONNA,
  JAMES MICHAEL JONES, and
  MARTIN CARTER KEHOE,

         Plaintiffs,

  V.


 THE TOWN OF SUPERIOR,
 CITY OF LOUISVILLE, COLORADO,
 CITY OF BOULDER, COLORADO, and
 BOARD OF COUNTY COMMISSIONERS OF BOULDER COUNTY,


         D�fendants.


                                 Declaration of Stephen Hargarten


        I, Stephen Hargarten, declare as follows:

        1.     I am over the age of 18 years of age and competent to testify to the matters stated
 below and do so based on my personal knowledge.

         2.     Attachment A is a true and accurate copy of my expert report in the above-
 captioned matter. It contains the opinions to which I would testify if called upon as a witness in
 the above-captioned matter, and I declare under penalty of perjury that it is true and correct to the
 best of my knowledge.

       I declare under penalty of perjury that the foregoing is true and correct to the best of my
 knowledge.

       !lc�l1-                �a\3 �ctober, 2023
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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

 Civil Action No. 22-cv-2680


 ROCKY MOUNTAIN GUN OWNERS,
 NATIONAL ASSOCIATION FOR GUN RIGHTS,
 CHARLES BRADLEY WALKER,
 BRYAN LAFONTE,
 CRAIG WRIGHT,
 GORDON MADONNA,
 JAMES MICHAEL JONES, and
 MARTIN CARTER KEHOE,

       Plaintiffs,

 v.

 THE TOWN OF SUPERIOR,
 CITY OF LOUISVILLE, COLORADO,
 CITY OF BOULDER, COLORADO, and
 BOARD OF COUNTY COMMISSIONERS OF BOULDER COUNTY,


       Defendants.


                               Expert Report of Stephen Hargarten
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        1.      My name is Stephen W. Hargarten, M.D., M.P.H. I am an emergency medicine

 specialist, having practiced emergency medicine for over 35 years. I have been board certified

 across four decades. My curriculum vitae, which is attached as Exhibit A, documents my

 educational and research experience in detail.

        2.      I am being compensated for my services in this case at the rate of $250/hour.

                            BACKGROUND AND QUALIFICATIONS

        3.      I received my Medical Degree from the Medical College of Wisconsin in 1975,

 completed my internship at Gorgas Hospital, a U.S. Army hospital in Panama City, Panama in

 1976, and received my Master’s Degree in Public Health at the Bloomberg School of Public Health

 at The Johns Hopkins University in 1984.

        4.      I was an emergency medicine physician in the Milwaukee area for 35 years, most

 recently serving as an Attending Physician at Froedtert Hospital until 2018. As an emergency

 medicine physician, I treated patients who sustained gunshot wounds.

        5.      In addition to practicing emergency medicine, I have served as a Professor of

 Emergency Medicine, Chairman of the Department of Emergency Medicine, and Associate Dean

 for Global Health at the Medical College of Wisconsin. In 2001, I founded the Injury Research

 Center, which later was reorganized to become the Comprehensive Injury Center at the Medical

 College of Wisconsin, where I served as Founding Director.

        6.      The Comprehensive Injury Center focuses on the sciences of injury prevention and

 control, including violence prevention, through a multidisciplinary public health approach. This

 includes community engagement, research, education, and collaboration with partners. The Center

 conducts research in a variety of areas, including interpersonal violence, gun violence, and opioid

 use.



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        7.      I serve on a number of National and International Committees, including as a

 member of the Network to Prevent Gun Violence in the Americas (2020-present), Vice-Chair of the

 Community Preventive Services Task Force of the U.S. Department of Health and Human Services

 (CDC, 2018-present), and member of the Executive Committee of the Transportation Research

 Board of the National Academies of Science, Engineering, and Medicine. I have been a member of

 the National Academy of Medicine since 2011.

        8.      Over the course of my career, I have been awarded more than $20 million in research

 grants and awards, including awards by the State of Wisconsin Department of Health Services,

 National Institute of Justice, and the Centers for Disease Control and Prevention. In addition, I have

 published more than 100 original papers in journals such as Academic Emergency Medicine, The

 Annals of Emergency Medicine, and The New England Journal of Medicine.

        9.      In the past four years, I have served as an expert in the following cases involving

 firearms regulations: Viramontes v. The County of Cook, Case No. 21-cv-04595 (N.D. Ill.), National

 Association for Gun Rights v. City of Highland Park, Illinois, Case No. 22-cv-04774 (N.D. Ill.).,

 and Barnett v. Raoul, Case No. 23-cv-00209 (S.D. Ill.). I have also reviewed medical‐legal cases for

 attorneys representing healthcare providers and patients. In the past four years, I have served as an

 expert in that capacity in Liebfried et al. v Caterpillar, Inc., Case No. 20-cv-1874 (E.D. Wis.).

        10.     I have reviewed the complaint filed in this case, Rocky Mountain Gun Owners, et al.,

 v. Superior, et al., 22-cv-2680 (D. Colo.), and the following ordinances challenged in this case:

 Superior, Colo. Code Ch. 10, art IX; Boulder, Colo. Rev. Code Title 5, Ch. 8; Boulder County,

 Colo. Ord. No. 2022-5; Louisville, Colo. Code Tit. 9, Ch. VIII.

        11.     I hold my opinions to a reasonable degree of medical and scientific certainty. My

 opinions are based on my education, training, research, and clinical experience, as well as my



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 knowledge of relevant medical literature and the application of scientific principles to wounding

 ballistics. Also relevant to the formation of my opinions is my knowledge of accepted standards of

 medical practice as they apply to emergency medicine.

                                                OPINIONS

         12.       Each year, more than 45,000 people die from gun-related injuries in the United

 States.1 Many shooting victims do not make it to the hospital, and those who survive are often left

 with serious complications, lifelong disabilities, and psychological trauma.2

         13.       Projectile weapons and their bullets cause damage to a body by transferring kinetic

 energy to the target, which ripples through tissue. The bullet penetrates the body, leaving a

 temporary and permanent cavity in its wake.3 The amount of energy a bullet transfers into a target is

 a function of the bullet’s velocity and mass. The energy delivered to the target increases

 geometrically along with increases in mass, and exponentially with increases in velocity. The larger

 a projectile’s surface area, the greater its ability to transfer its energy to the intended target.4




         1
           John Gramlich, “What the data says about gun deaths in the U.S.,” Pew Research Center
 (April 26, 2023), available at https://www.pewresearch.org/fact-tank/2022/02/03/what-the-data-
 says- about-gun-deaths-in-the-u-s/ (noting that “[i]n 2021, the nost recent year for which complete
 data is available, 48,830 people died from gun-related injuries in the U.S.”),
         2
        See, e.g., Arlene Greenspan & Arthur L. Kellerman, “Physical and Psychological
 Outcomes 8 Months after Serious Gunshot Injury,” The Journal of Trauma 53(4), at 709–16 (Oct.
 2002).
         3
           Alex Yablon, “The Simple Physics That Makes Some Bullets Deadlier Than Others,” The
 Trace (June 21, 2017), available at https://www.thetrace.org/2017/06/physics-deadly-bullets-
 assault-rifles/.
         4
             Id.

                                                      4
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         14.     Assault weapons5 present an especially serious public health problem in the United

 States. Assault weapons release projectiles at a relatively high velocity and can fire more bullets and

 thus release more kinetic energy per minute than other kinds of firearms. And due to a variety of

 factors, including the velocity of the bullet, spin of the bullet, and size of the bullet, bullets fired by

 assault weapons penetrate tissue to create relatively large temporary cavities and permanent wound

 channels that are generally more severe than other kinds of weapons. Assault weapons cause

 extreme damage to the tissue and organs of shooting victims (especially to solid organs such as the

 liver and spleen), leading to relatively high fatality and complication rates in victims.6

 I.      The Energy Release of Bullets Fired by Assault Weapons Typically Results in More
         Destructive Potential than Other Weapons.

         15.     For the past two years, I have researched the energy release and damage to human

 tissue of different types of weapons at the Comprehensive Injury Center at the Medical College of

 Wisconsin (“MCW”), in collaboration with the Department of Biomedical Engineering at MCW

 and Marquette University. Over the past several years, I, along with a group of collaborators, have

 sought to perform wound ballistics modeling with state‐of‐the‐art video technology and sensors.

 Specifically, we designed an experiment to gain a greater understanding of how a bullet “behaves”




         5
          For purposes of this declaration, I use “assault weapons” to refer to firearms like the AR-
 15, which typically are capable of firing rounds at relatively high velocity and with a high rate of
 delivery, are lightweight and easy to maneuver, have low recoil, and display a high degree of
 accuracy at long range. This kind of weapon is encompassed by the definition of “assault weapon”
 in Superior, Colo. Code § 10-9-20, Boulder, Colo. Rev. Code § 5-8-2, Boulder County, Colo. Ord.
 No. 2022-5 § 1(a), and Louisville, Colo. Code § 9.80.010.
         6
          See, e.g., Gina Kolata and C. J. Chivers, “Wounds from Military-Style Rifles? ‘A Ghastly
 Thing to See’,” The New York Times (Mar. 4, 2018), available at https://www.nytimes.com/2018/03
 /04/health/parkland-shooting-victims-ar15.html; Heather Sher, “What I Saw Treating the Victims
 from Parkland Should Change the Debate on Guns,” The Atlantic (Feb. 22, 2018), available at
 https://www.theatlantic.com/politics/archive/2018/02/what-i-saw- treating-the-victims-from-
 parkland-should-change-the-debate-on-guns/553937/.


                                                      5
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 and transfers energy in simulated human tissue (gelatin). We wanted to quantify the scope and

 nature of the energy release, as summarized by this equation: Kinetic Energy equals ½ mass times

 velocity squared.7 We wanted to measure the size of the permanent and temporary cavities created

 by the bullet as it travels through the human body model. We sought to measure energy release and

 cavity size because both are wounding predictors in the human body.

        16.     To do so, we partnered with the Wisconsin Crime Lab, Division of Firearms and

 Toolmark Examiners, in Milwaukee, Wisconsin, where we identified and utilized firearms and

 bullets from their laboratory. Specifically, we conducted biomechanical testing of the bullets

 released from several different types of firearms, with the standard ammunition associated with

 those weapons.8 We used three handguns (all pistols with .25 caliber, .32 caliber, and .40 caliber

 rounds), a bolt-action Remington hunting rifle (.30‐06 caliber), an AR-15 style rifle (5.56 NATO

 bullets), a Thompson Machine gun rifle (.45 caliber ACP bullet), and a musket model (musket ball).

 These weapons were chosen to compare the energy output and resulting cavity size from different

 types of weapons and bullets.

        17.     The bullets were shot into gelatin. We chose to use gelatin because it simulates, with

 a similar projectile depth of penetration and permanent damage, the damage done to human soft




        7
           Panagiotis K. Stefanopoulos et al., “Wound ballistics of military rifle bullets: An update on
 controversial issues and associated misconceptions,” Journal of Trauma and Acute Care Surgery
 87(3), at 696 (Sept. 2019).
        8
            The size of the bullet can affect wound severity. In general, holding all else equal, larger
 caliber rounds are more likely to cause more severe injuries because they increase the surface area
 of affected tissue. See, e.g., Anthony A. Braga & Philip J. Cook, “The Association of Firearm
 Caliber With Likelihood of Death From Gunshot Injury in Criminal Assaults,” JAMA Network
 Open 1(3) (July 27, 2018), available at https://jamanetwork.com/journals/jamanetworkopen
 /fullarticle/2688536.



                                                     6
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 tissue. Gelatin blocks allow researchers to measure and visualize the energy transfer, temporary

 cavity, and permanent wound channels created by a projectile.9

        18.     When conducting the experiment, science leaders, technicians, and doctoral students

 from the Bio‐Engineering Department of the Medical College of Wisconsin/Marquette University

 set up the video technology sensors and gelatin, while the Wisconsin Crime Lab personnel set up

 the stand for the firearms. The distance from the firearm to the gelatin was approximately 10 feet.

        19.     We tested several bullets associated with different types of firearms to record and

 quantify the scope and nature of the permanent and temporary cavities and to quantify the energy

 release of the bullets with two energy sensors affixed into the gelatin. The system was set up so that

 when the bullet was released from the firearm, the passage of the bullet thru the gelatin was

 recorded by high-speed video technology and the energy release was quantified by the two energy

 sensors.

        20.     The two pressure transducers with range 0 – 50 megapascals (Entran Sensors &

 Electronics, Fairfield, NJ) were inserted about ten millimeters deep into the gelatin, perpendicular to

 the bullet path and recorded at 300 kHz. One sensor, the near sensor, was close to the front of the

 gelatin block; the other sensor, the far sensor, was close to the back of the gelatin block. Data

 capture was triggered after the bullet was fired using a sound-triggering device (Woods Electronics,

 Poway, CA). Pressure was filtered at 2.5 kHz using a low‐pass Butterworth filter (MATLAB, The




        9
          See, e.g., D.J. Carr et al., “The use of gelatine in wound ballistics research,” International
 Journal of Legal Medicine 132(6), at 1659–64 (Apr. 25, 2018), available at
 https://www.ncbi.nlm.nih.gov/pmc/articles/PMC6208714/. For a helpful video demonstration of a
 similar gelatin experiment comparing a bullet fired by a 9mm handgun and one from an AR-15, see
 this 60 Minutes episode “What makes the AR-15 style rifle the weapon of choice for mass
 shooters?” (May 29, 2022), available at https://www.cbsnews.com/news/ar-15-mass-shootings-60-
 minutes-2022-05-29/.

                                                    7
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  MathWorks, Inc., Natick, Massachusetts) and analyzed over time to evaluate peaks for maximum

  pressure.

         21.     The experiment measured a number of metrics; the results of the experiment are

  summarized in Exhibit B.

         22.     First, the experiment measured pressure caused by the bullet. Pressure, which was

  measured by the two different sensors at different points in the gelatin, represents the transferred

  energy of the bullet as it enters and travels through the gelatin (i.e., the simulated human tissue).

  The pressure readings show the amount of energy release that is exerted on human tissue.

         23.     Second, the experiment measured the temporary cavity and permanent cavity formed

  by the bullet. A permanent cavity is formed by the mass of the bullet traveling through the gelatin,

  which causes crushing and tearing of the gelatin, similar to what occurs in human tissue and organs.

  The temporary cavity is formed by the dispersion of the kinetic energy radially from the permanent

  cavity path, resulting in the stretching and tearing of the gelatin, again similar to what occurs in

  human tissue and organs. The temporary cavity caused by the energy release is similar to when

  water is displaced when a diver enters a pool.

         24.     Third, the experiment measured energy lost by the bullet as it transferred through the

  gelatin. This was measured by calculating the different energies from the first and second

  transducer, thus resulting in a calculated transfer of energy to the gelatin. This represents the energy

  that human tissue will absorb as the bullet passes through the body.

         25.     Fourth, we measured the percentage of the bullet’s energy transferred to the gelatin

  by the bullet. This was calculated by taking the energy transferred and comparing it to the kinetic

  energy of the bullet leaving the chamber. Occasionally a bullet will fragment when it enters the




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  gelatin (which also occurs with human tissue). Energy transfer generally increases when a round

  fragments because energy is released into the fragments and spread over a greater surface area.

             26.   We found that the energy release of a 5.56 NATO round fired by an AR-15 style rifle

  (1,055.05 joules) is significantly greater than that of a round fired by a handgun (54.13 joules for

  a .25 caliber, 108.73 joules for a .32 caliber, and 265.99 joules for a .40 caliber), a .45 caliber round

  fired by a Thompson Machine gun (301.81 joules), and a musket ball fired by a musket (111.27

  joules). In fact, the energy release is approximately three times greater than a Thompson Machine

  gun, approximately four to nineteen times greater than the handguns (depending on the caliber), and

  approximately ten times greater than a musket. The energy release is even larger in a 5.56 NATO

  round when the bullet fragments, which it did in our second testing of the 5.56 NATO (1,138.13

  joules).

             27.   Furthermore, the temporary cavity caused by the 5.56 NATO bullet was significantly

  larger than the cavity sizes caused by the handguns, Thompson Machine gun, and the musket. And

  again, the temporary cavity of the AR-15 increased, by nearly 2 inches, with fragmentation.

             28.   The only weapon that came close to producing temporary cavities comparable to the

  5.56 NATO round was the .30-06 round from the Remington hunting rifle, which released more

  energy than the 5.56 NATO round (2,126.55 joules) and is often used to hunt large game. However,

  a shooter firing an AR-15 style weapon is capable of firing substantially more rounds per minute

  than someone shooting the Remington hunting rifle for a variety of reasons, including because the

  hunting rifle requires the shooter to pull the bolt back before firing each round (i.e., the hunting rifle

  requires the shooter to manually cycle the round); the hunting rifle produces a higher recoil, which

  means the shooter typically must re-aim after each shot; and the hunting rifle has a magazine of

  only 3-5 rounds, which requires more frequent reloading. Because the shooter firing the AR-15



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  style weapon is capable of firing substantially more rounds per minute than the shooter firing the

  hunting rifle, the AR-15, in effect, releases significantly more energy on a per-minute basis than the

  hunting rifle.

          29.      It is my opinion that the AR-15 style bullet’s kinetic energy release with its

  associated greater permanent and temporary cavities is more destructive than those fired by the

  Thompson Machine gun rifle, handguns, and muskets. Additionally, when considering the number

  of rounds per minute that each type of firearm is capable of firing, it is my opinion that an AR-15

  style weapon is capable of causing significantly more destruction than a hunting rifle.

          30.      Large-capacity magazines increase this destructive potential by increasing the

  number of rounds someone can fire without having to reload, thereby increasing the number of

  bullets that can be fired during a given time period.

  II.     AR-15 Style Weapons Produce More Damage to the Human Body Than Other
          Weapons.

          31.      The significant differences in energy transfer and temporary and permanent cavity

  sizes associated with rounds fired by AR-15 style weapons as compared to rounds fired by other

  weapons (including on a per-minute basis) have direct implications for injury and death.

          32.      AR-15 style weapons are capable of inflicting enormous damage on the human body,

  especially for children. Specifically, critical solid organs are more at risk, and the relative proximity

  of vital organs to each other in children increases the likelihood of serious injury or death, from

  gunshot wounds caused by an AR-15 style weapons than those caused by a lower-velocity weapon.

  Organs such as the liver and spleen, which are relatively inelastic organs due to their cellular

  structures (versus lung tissue, which is very elastic due to its need to inflate and constrict) are more

  severely lacerated due to the greater temporary cavity formation by these bullets, resulting in veins

  and arteries torn, which increases the risk of catastrophic bleeding. In addition, bullets from AR-15


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  style rifles are more likely to cause significant damage to bones and skeletal structure due to their

  higher energy release.

           33.        This reality is borne out by the experiences of those who have recently treated

  victims of mass shootings involving assault rifles. For example, a trauma surgeon who treated a

  victim of the Parkland shooting “opened a young victim in the operating room, and found only

  shreds of the organ that had been hit by a bullet from an AR-15. . . . Nothing was left to

  repair. . . . ”10

           34.        The damage to the human body of bullets fired by assault rifles is amplified when

  there are multiple bullet wounds and in smaller bodies such as children. In a multiple-gunshot case,

  there are multiple cavities with energy being transferred to different places inside the body, which

  means the victim’s wounds are typically more complex, carry a higher likelihood of injury requiring

  surgical intervention, and carry a higher likelihood of death at the scene or on arrival in an

  emergency department.11

           35.        Finally, while the likelihood of serious injury and death from a wound caused by an

  assault weapon is high for adult victims, the likelihood of serious injury or death for pediatric

  victims is even greater. Because children have smaller torsos, relatively more compressed/adjacent

  vital organs, and smaller blood reserves, the energy release and greater temporary and permanent

  cavities associated with AR-15 style bullets are even more likely to cause serious damage to

  children as compared to teenagers or adults. Not a single child wounded by an assault weapon at


           10
           Sher, “What I Saw Treating the Victims from Parkland Should Change the Debate on
  Guns,” supra note 6; see also Leana Wen, “What Bullets Do to Bodies,” The New York Times (June
  15, 2017), available at https://www.nytimes.com/2017/06/15/opinion/virginia-baseball- shooting-
  gun-shot- wounds.html?_r=1.
           11
           Brendan G. Carr et al., “Outcomes related to the number and anatomic placement of
  gunshot wounds,” Journal of Trauma 64(1), at 197–202 (Jan. 2008), available at https://pubmed.
  ncbi.nlm.nih.gov/18188121/.

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 Sandy Hook survived, for example. 12 Those patients who do survive after having been struck by

 these bullets often face surgical challenges, recurring operative proced e , and long-term recovery

 and disability.




        Report of the State's Attorney for the Judicial District of Danbury on the Shootings at
        12

Sandy Hook Elementary School and 36 Yogananda Street, Newton, Connecticut on December 14,
2012 (Nov. 25, 2013) at p. 10, https://portal.ct.gov/-/media/DCJ/SandyHookFinalReportpdf.pdf.

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                                 CURRICULUM VITAE (Dec. 2022)
                                   Professor of Emergency Medicine

      Home Address:            2411 E. Menlo Boulevard
                               Shorewood, WI 53211

      Office Address:          The Hub for Collaborative Medicine
                               8701 W Watertown Plank Rd.
                               Milwaukee, WI 53226
                               Email: hargart@mcw.edu

      Birth date:              January 5, 1949

      Marital Status:          Married, 1987 - Janis
                               Children: Beth, Jordan, Leah

      Education:

               1984            MPH, Johns Hopkins School of Public Health and Hygiene

               1975            MD, Medical College of Wisconsin

               1971            BA, University of Wisconsin, Milwaukee

      Postgraduate Training:

               1975-1976       Rotating Internship, Gorgas Hospital, Canal Zone, Panama

      Faculty Appointments:

               2020-present    Senior Injury and Policy Advisor, Comprehensive Injury Center at the Medical
                               College of Wisconsin

               2017-2019       Co-Director, Global Health Pathway, Medical College of Wisconsin

               2014-2016       Faculty Representative, Board of Trustees, Medical College of Wisconsin

               2013-2017       Director, Global Health Pathway, Medical College of Wisconsin

               2013-2017       Adjunct Faculty, Joseph J. Zilber School of Public Health, University of
                               Wisconsin

               2012-present    Graduate Faculty, Graduate School of Biomedical Sciences, Medical College of
                               Wisconsin

               2010-2021       Associate Dean, Global Health, Medical College of Wisconsin

               2010-2014       Institute for Health and Society, Medical College of Wisconsin

               2008–present    Adjunct Professor, Department of Population Health Sciences
                               University of Wisconsin School of Medicine and Public Health

               2001-2020       Director, Comprehensive Injury Center at the Medical College of Wisconsin

               1998-present    Professor, Department of Emergency Medicine, Medical College of Wisconsin
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                                                                                                         -2-
                                                                              Stephen W. Hargarten, MD, MPH

               1998-2018                Chairman, Department of Emergency Medicine, Medical College of Wisconsin

               1998-2001                Director, Wisconsin Injury Research Center, Department of Emergency
                                        Medicine, Medical College of Wisconsin

               1997-2002                Director, Firearm Injury Center, Department of Emergency Medicine, Medical
                                        College of Wisconsin

               1994-1997                Associate Professor, Interim Chairman, Department of Emergency Medicine,
                                        Medical College of Wisconsin

               1994-1996                Instructional Academic Staff Preceptor, Physician Assistant Program,
                                        Department of Family Medicine & Practice, University of Wisconsin Medical
                                        School - Madison, WI

               1994-2004                Health Policy Institute, Medical College of Wisconsin

               1989-1994                Assistant Professor of Emergency Medicine, Medical College of
                                        Wisconsin

               1985-1988                Assistant Clinical Professor, Department of Trauma and Emergency Medicine,
                                        Medical College of Wisconsin

      Hospital and Administrative Appointments:

               1995-2018                Attending Staff, Froedtert Hospital

               1992-1997                Associate Attending Staff, Children’s Hospital of Wisconsin

      Hospital Appointments: (past)

               1989-1995                Associate Attending Staff, John L. Doyne Hospital, Milwaukee, WI

               1985-1988                Staff Physician, Emergency Department, St. Luke’s Hospital

               1984-1985                Staff Physician, Emergency Department, St. Joseph’s Hospital

               1977-1983                Staff Physician, Emergency Department, St. Mary’s Hospital

               1976-1977                Staff Physician, Emergency Department, St. Joseph’s Hospital

      Other Appointments:

                2014-2020               President and CEO, Milwaukee Global Health Consortium, Milwaukee, WI

      Specialty Certification:

               2000                     Board Re-certified, American Board of Emergency Medicine

               1991                     Board Re-certified, American Board of Emergency Medicine

               1987-2010                Examiner, American Board of Emergency Medicine
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                                                                                                       -3-
                                                                            Stephen W. Hargarten, MD, MPH
              1987-2003                 Instructor, Advanced Trauma Life Support

              1983-2005                 Fellow, American College of Emergency Physicians

              1982                      Board Certified, American Board of Emergency Medicine

      Licensure:
              National Board of Medical Examiners - July 1976 - #154341
              State of Wisconsin - July 1976 - #20218

      Awards/Honors
              2019                      Distinguished Service Award, Medical College of Wisconsin

              2018                      Appointment to the Community Preventive Services Task Force (CPSTF)
                                        of the U.S. Department of Health and Human Services

              2017                      International Institute of Wisconsin’s Dorothy Von Briesen World Citizen
                                        Award in recognition of dedication to the promotion of international
                                        cooperation and understanding between diverse cultural communities

              2016                      The Leonard Tow 2016 Humanism in Medicine Award in recognition of
                                        exemplary compassion, competence and respect in the delivery of care
                                        (presented by The Arnold P. Gold Foundation)

              2015                      Distinguished Achievement Award, Milwaukee Academy of Medicine

              2012                      Outstanding Pathways Advisor for the 2012 Academic Year
                                        Medical College of Wisconsin

              2012                      Outstanding Medical Student Teacher for the 2011-2012 Academic Year
                                        Medical College of Wisconsin

              2011                      Election to the National Academy of Medicine, (Formally the Institute of Medicine) of
                                        The National Academy of Sciences

              2011                      Selected to be a Johns Hopkins Scholar

              2008                      Outstanding Medical Student Teacher for the 2007-2008 Academic Year
                                        Medical College of Wisconsin

              2000                      Prevention Achievement Award – presented by the Brain Injury
                                        Association of Wisconsin

              2000                      President’s Award, Milwaukee Academy of Medicine

              1996                      Contributions to the 1996 Healthy People 2000 Progress Review, and in
                                        recognition of leadership in the area of Violence Prevention, on behalf of the
                                        National Center for Injury Prevention and Control, Centers for Disease Control
                                        and Prevention, Washington, DC, November

              1995                      Public Citizen of the Year, National Association of Social Workers - Wisconsin
                                        Chapter

              1994                      Physician of the Year State Medical Society – Wisconsin
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                                                                                                         -4-
                                                                              Stephen W. Hargarten, MD, MPH
              1990                       Rookie of the Year Award (presented by the Emergency Medicine Residents, Medical
                                         College of Wisconsin-MCWAH)


      Memberships in Professional and Honorary Societies:

              Society for Research Excellence
              Community Preventive Services Task Force (US Dept of Health & Human Services)
              The National Academy of Medicine (fka Institute of Medicine)
              Johns Hopkins Society of Scholars
              Society for Academic Emergency Medicine
              American Public Health Association
              Advocates for Highway and Auto Safety
              Wisconsin Public Health Association
              International Travel Medicine Society
              Society for Advancement of Violence and Injury Research

      Consultant:

              Florida Department of Health
              Colorado Department of Health

      Journal Reviewer:

              Academic Emergency Medicine
              Annals of Emergency Medicine
              Accident Analysis and Prevention
              American Journal of Emergency Medicine
              Journal of Global Health
              Journal of the American Medical Association
              Journal of Injury Prevention
              Chinese Journal of Emergency Medicine, Editorial Board


      Peer Grant Reviewer

               NCIPC - Elimination of Health Disparities through Translation Research (R18), 2008


      National Advisory Committees/Boards:

              Chair, Network to Prevent Gun Violence in the Americas, 2020-present

              Member, Global Violence Prevention Forum of the National Academies of Sciences, Engineering and
              Medicine, 2019-present

              Member, Community Preventive Services Task Force of the U.S. Department of Health and Human
              Services, 2018-present

              Member, Executive Committee, Transportation Research Board of the National Academies of
              Sciences, Engineering and Medicine, 2018-present

              Member, Executive Committee, Transportation Research Board of the National Academies, 2018-
              present
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                                                                              Stephen W. Hargarten, MD, MPH
              Member, Scientific Committee, Consortium of Universities for Global Health, 2013

              Special Government Employee, Board of Scientific Counselors, National Center for Injury
              Prevention and Control, 2013-2017

              Member, Institute of Medicine, Global Health Board, 2012-2018

              Member, Scientific Advisory Committee, University of Michigan Injury Center, 2011-present

              Board Member, Community Advocates, Urban Strategies, 2010-present

              Board Member, Great Lakes Transportation Enterprise Institute, 2010-2013

              Founding President, Society for Advancement of Violence and Injury Research, 2005-2007

              President, Association of Academic Chairs of Emergency Medicine, 2004-2005

              President, National Association of Injury Control Research Centers, 2004-2005

              Member, Advisory Committee, National Center of Injury Prevention and Control, Acute Care
              Research Committee, 2004-2005

              Board Member, St. Charles Youth and Family Services, 2001-present

              Participant, Injury Research Grant Review Committee, Centers for Disease Control and Prevention,
              National Center for Injury Prevention and Control, June 7-8, 1998

              Member, Senator Russ Feingold Health Care East Advisory Committee, 1999–2010

              Co-Chair, Advocates for Highway & Auto Safety, 1998 – 2002

              Public Health Task Force, Society for Academic Emergency Medicine 1998 - 2000

              Member, Education Advisory Committee, Association for the Advancement of Automotive Medicine, 1996 –
              1997

              Board Member, Advocates for Highway & Auto Safety, 1994– present

              Member, Public Health and Injury Prevention Committee - American College of Emergency Physicians,
              1991-1995

              Member, Program Committee, Society for Academic Emergency Medicine, 1993 - 1995

              Board Member, Association for Advancement of Automotive Medicine, 1992 - 1995

              Member, Public Health Committee - Society for Academic Emergency Medicine, 1990 - 1993

              Member, Trauma Subcommittee American College of Emergency Physicians, 1990 – 1991


      State/Local Advisory Committee/Boards:

              Faculty Member, Board of Trustees, Medical College of Wisconsin, 2014-2016

              Member, Committee on Inmate/Youth Death, Department of Corrections, 2005-2007
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                                                                                 Stephen W. Hargarten, MD, MPH

              Member, Public Health Council, Department of Health and Family Services, 2004-2006

              Task Force Member, Governors Task Force on Terrorism, 2001-2003

              Chair, State Trauma Advisory Committee, 1999-2003

              Chair, State Medical Society Council on Health of the Public, 1999-2000

              Eastern Regional Health Care Advisory Committee of Senator Feingold, 1998-2000

              Chair, Policies and Practice Work Group, Fighting Back, 1998

              Board Member, Fighting Back, 1997-2000

              Chair, State Medical Society Injury Control Commission, 1996 - 1999

              Chair, Public Health and Education Committee, Milwaukee Academy of Medicine, 1993 – 1999

              Tom Dooley Heritage - Board Member (Private, Voluntary Organization), 1981 - 1995

              Chairman, Safe Transportation Commission Wisconsin State Medical Society, 1990 - 1994

              Board Member, Wisconsin Division American Trauma Society, 1990 - 1993

              President, Wisconsin Public Health Association, 1992 - 1993

              Co-Chairman, Wisconsin Safety Belt Coalition, Madison, Wisconsin, 1986 - 1991

              Milwaukee County Medical Society Public Health Committee, 1989 - 1991

              Commissioner, Milwaukee Safety Commission, 1987 - 1990

              Medical Director, St. Luke's International Travel Clinic, 1985 - 1988

              Board Member/President, Wisconsin Indochina Refugee Relief (WICRR) – Wisconsin, 1980 - 1982

              Wisconsin Indochina Refugee Relief (WICRR) (Private, Voluntary non-profit organization), Volunteer Physicians -
              Tom Dooley Memorial Hospital Thailand, 1980

              Co-Founder, Board Member West of the River Community Center, Milwaukee, Wisconsin, 1977 – 1979

      Research Grants, Contracts, and Awards:

          1. “Remembering the Lost: How Investigation of Military Suicides Can Improve Prevention Resources”
             AWARD FOR FISCAL YEARS 2020-22
             $316,576
             PRIMARY INVESTIGATOR: Stephen Hargarten, MD, MPH
             FUNDING AGENCY: Advancing a Healthier Wisconsin Endowment

          2. “Using Hospital Records of Patients Presenting to Froedtert Hospital to Predict Risk of Opioid Use Disorder
             (OUD), Fatal and Non-fatal Opioid Overdose, and ED Readmission”
             AWARD FOR FISCAL YEARS 2020-2021
             $50,000
             PRIMARY INVESTIGATOR: Stephen Hargarten, MD, MPH
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                                                                          Stephen W. Hargarten, MD, MPH
            FUNDING AGENCY: Clinical and Translational Science Institute through Advancing a Healthier Wisconsin
            Endowment

        3. “Project Zero”
           AWARD FOR FISCAL YEARS 2021-2023
           $316,760
           PRIMARY INVESTIGATOR: Stephen Hargarten, MD, MPH
           FUNDING AGENCY: Advancing a Healthier Wisconsin Endowment

        4. “Project Aware”
           AWARD FOR FISCAL YEARS 2019-2024
           $300,000
           PRIMARY INVESTIGATOR: Stephen Hargarten, MD, MPH
           FUNDING AGENCY: (Sub-contract) State of Wisconsin Department of Health Services

        5. “WVDRS and SUDORS Contract”
           AWARD FOR FISCAL YEARS 2019-2020
           $170,440
           PRIMARY INVESTIGATOR: Stephen Hargarten, MD, MPH
           FUNDING AGENCY: (Sub-contract) State of Wisconsin Department of Health Services

        6. FY20 DOC Contract
           AWARD FOR FISCAL YEARS 2019-2020
           $99,874
           PRIMARY INVESTIGATOR: Stephen Hargarten, MD, MPH
           FUNDING AGENCY: Wisconsin Department of Corrections

        7. “Destination Zero: Zero Suicide in Fond du Lac County”
           AWARD FOR FISCAL YEARS 2018-2020
           $419,691
           PRIMARY INVESTIGATOR: Stephen Hargarten, MD, MPH
           FUNDING AGENCY: Healthier Wisconsin Partnership Program

        8. “MCW Blue Center Research Award”
           INITIAL AWARD FOR FISCAL YEARS: 2017-2020
           $600,000
           PRIMARY INVESTIGATOR: Stephen Hargarten, MD, MPH
           FUNDING AGENCY: Medical College of Wisconsin, Office of Research

        9. “Scudder Travel Scholarship”
           AWARD FOR FISCAL YEARS: 2017-2021
           $15,000
           PRIMARY INVESTIGATOR: Stephen Hargarten, MD, MPH
           FUNDING AGENCY: Dr. James H. Taylor and Dr. Susan P. Taylor

        10. “Dr. Elaine Kohler Summer Academy in Global Health Research and Electives”
            AWARD FOR FISCAL YEARS: 2017-2021
            TOTAL AWARD: $250,000
            PRIMARY INVESTIGATOR: Stephen Hargarten, MD, MPH
            FUNDING AGENCY: John Michael Kohler Family Foundation

        11. “The Cardiff Model: Strengthening Community Capacity to Reduce Violence:
            AWARD FOR FISCAL YEARS 2016-2018
            $499,693
            PRINCIPAL INVESTIGATOR: Stephen Hargarten, MD, MPH
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                                                                              Stephen W. Hargarten, MD, MPH
            FUNDING AGENCY: US Department of Justice

        12. “Developing a Community-Based Approach to Reduce Drug Overdoses in Milwaukee County”
            AWARD FOR FISCAL YEAR 2016
            TOTAL AWARD $25,000
            PRINCIPAL INVESTIGATOR: Stephen Hargarten, MD, MPH
            FUNDING AGENCY: Milwaukee County

        13. “Addressing Racial Disparities in the Ascertainment and Identification of Depression,
            Suicidal Ideation, and Death by Suicide”
            AWARD FOR FISCAL YEARS 2016-2017
            TOTAL AWARD $37,347
            PRINCIPAL INVESTIGATOR: Stephen Hargarten, MD, MPH
            FUNDING AGENCY: Charles E. Kubly Foundation

        14. “Creating a Jackson County that Supports Mental Health”
            AWARD FOR FISCAL YEARS 2015-2017
            TOTAL AWARD: $374,504
            PRINCIPAL INVESTIGATOR: Stephen Hargarten, MD, MPH
            FUNDING AGENCY: Healthier Wisconsin Partnership Program

        15. “Wisconsin Violent Death Reporting System” (WVDRS)
            AWARD FOR FISCAL YEAR 2015
            AWARD: $69,773
            PRINCIPAL INVESTIGATOR: Stephen Hargarten, MD, MPH
            FUNDING AGENCY: (Sub-Contract) State of Wisconsin, Department of Health Services

        16. “Integrating Emergency Data with Law Enforcement, Emergency Medical Service and
             Community Data to Reduce Violence”
            AWARD FOR FISCAL YEAR 2015
            PRINCIPAL INVESTIGATORS: Stephen Hargarten, MD, MPH and Jennifer Hernandez-Meier, MSW
            FUNDING AGENCY: National Institute of Justice

        17. “Criminal Background Characteristics of Homicide Perpetrators and Victim’s and
             Suicide Decedents: A Model State Analysis”
            AWARD FOR FISCAL YEARS 2014-2016
            PRINCIPAL INVESTIGATOR: Stephen Hargarten, MD, MPH
            FUNDING AGENCY: New Venture Fund for a Safer Future

        18. “Training Administration Support”
            AWARD FOR FISCAL YEARS 2012-present
            TOTAL AWARD: $6,200
            PRIMARY INVESTIGATOR: Stephen Hargarten, MD, MPH
            FUNDING AGENCY: Varies

        19. “M4 University of the Philippines College of Medicine Global Health Elective”
            AWARD FOR FISCAL YEARS: 2012-2013
            TOTAL AWARD: $1,000
            PRIMARY INVESTIGATOR: Stephen Hargarten, MD, MPH
            FUNDING AGENCY: David E. Engelhardt, MD

        20. “Changing the Culture of Risky Drinking Behavior: Policy Change”
            AWARD FOR FISCAL YEARS: 2012-2017
            TOTAL AWARD: $748,267
            PRIMARY INVESTIGATOR: Stephen Hargarten, MD, MPH
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                                                                            Stephen W. Hargarten, MD, MPH
            FUNDING AGENCY: Healthier Wisconsin Partnership Program

        21. “Child Maltreatment and Partner Violence: Bridging the Medical/Social/Science Gap”
            AWARD FOR FISCAL YEAR 2011-2012
            TOTAL AWARD $7,142
            FUNDING AGENCY: NICHHD/Sub-contract from Washington University-St. Louis

        22. “M4 Global Health Elective Travel Scholarship”
            AWARD FOR FISCAL YEARS: 2011-2017
            TOTAL AWARD: $70,000
            PRIMARY INVESTIGATOR: Stephen Hargarten, MD, MPH
            FUNDING AGENCY: St. Joseph’s Hospital Professional Emergency Services, Inc. (PES) Fund Award

        23. “M4 Global Health Elective Travel Scholarship”
            AWARD FOR FISCAL YEARS: 2011-2017
            TOTAL AWARD: $70,000
            PRIMARY INVESTIGATOR: Stephen Hargarten, MD, MPH
            FUNDING AGENCY: Ewens WIcare Fund

        24. “Dr. Elaine Kohler Summer Academy in Global Health Research and Electives”
            AWARD FOR FISCAL YEARS: 2011-2016
            TOTAL AWARD: $255,000
            PRIMARY INVESTIGATOR: Stephen Hargarten, MD, MPH
            FUNDING AGENCY: John M. Kohler Foundation

        25. “Violence Prevention Initiative Research and Evaluation Team”
            AWARD FOR FISCAL YEARS: 2010-2015
            TOTAL AWARD: $1,241,473
            PRIMARY INVESTIGATOR: Stephen W. Hargarten, MD, MPH
            FUNDING AGENCY: Healthier Wisconsin Partnership Program

        26. “Strengthening Emergency Care in Belize”
            AWARD FOR FISCAL YEARS: 2010-2012
            TOTAL AWARD: $21,360
            PRIMARY INVESTIGATOR: Stephen Hargarten, MD, MPH
            FUNDING AGENCY: Wagner Foundation

        27. Changing the Culture of Risky Drinking Behavior”
            AWARD FOR FISCAL YEARS: 2009-2012
            TOTAL AWARD: $300,000
            PRIMARY INVESTIGATOR: Stephen W. Hargarten, MD, MPH
            FUNDING AGENCY: Healthier Wisconsin Partnership Program

        28. “Elaine Kohler Nicaragua Award”
            AWARD FOR FISCAL YEARS: 2008-2016
            TOTAL AWARD: $5,000
            PRIMARY INVESTIGATOR: Stephen W. Hargarten, MD, MPH
            FUNDING AGENCY: Julilly Kohler WI Care

        29. “Kenosha County Suicide Prevention Initiative”
            AWARD FOR FISCAL YEARS: 2008-2011
            TOTAL AWARD: $450,000
            PRIMARY INVESTIGATOR: Stephen W. Hargarten, MD, MPH
            FUNDING AGENCY: Healthier Wisconsin Partnership Program
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                                                                            Stephen W. Hargarten, MD, MPH
        30. “Train the Trainer Alcohol Screening and Intervention”
            AWARD FOR PERIOD: June-September 2008
            TOTAL AWARD $20,000
            PRIMARY INVESTIGATOR: Stephen W. Hargarten, MD, MPH
            FUNDING AGENCY: Wisconsin Department of Transportation

        31. “Comprehensive Injury Center at the Medical College of Wisconsin”
            AWARD FOR FISCAL YEARS: 2007-2012
            TOTAL AWARD: $4,424,025
            PRIMARY INVESTIGATOR: Stephen W. Hargarten, MD, MPH
            FUNDING AGENCY: Centers for Disease Control and Prevention

        32. “Public Health Injury Surveillance and Program Development”
            AWARD FOR FISCAL YEAR: 2007-2008
            TOTAL AWARD: $106,034
            PRIMARY INVESTIGATOR: Stephen W. Hargarten, MD, MPH
            FUNDING AGENCY: Injury Prevention Program, Wisconsin Dept of Health and Family Services

        33. “Changing the Culture of Risky Drinking Behavior”
            AWARD FOR FISCAL YEARS: 2007-2008
            TOTAL AWARD: $49,944
            PRIMARY INVESTIGATOR: Stephen W. Hargarten, MD, MPH
            FUNDING AGENCY: Healthier Wisconsin Partnership Program

        34. “Medical Student Training in Aging and Injury Research”
            AWARD FPR FOSCA: UEARS: 2007-2012
            TOTAL AWARD: $391,068
            CO-PROGRAM DIRECTOR: Stephen W. Hargarten, MD, MPH
            FUNDING AGENCY: National Institutes of Health/National Institute on Aging

        35. “Public Health Injury Surveillance and Program Development”
            AWARD FOR FISCAL YEAR: 2006-2007
            TOTAL AWARD: $68,870
            PRIMARY INVESTIGATOR: Stephen W. Hargarten, MD, MPH
            FUNDING AGENCY: Injury Prevention Program, Wisconsin Dept of Health and Family Services

        36. “Strengthening Public Health Policymaking for a Healthier Milwaukee”
            AWARD FOR FISCAL YEARS: 2006-2008
            TOTAL AWARD: $49,816
            PRIMARY INVESTIGATOR: Stephen W. Hargarten, MD, MPH
            FUNDING AGENCY: Healthier Wisconsin Partnership Program

        37. “Youth Suicide Prevention and Early Intervention”
            AWARD FOR FISCAL YEARS: 2006-2009
            TOTAL AWARD: $100,000
            PRIMARY INVESTIGATOR: Stephen W. Hargarten, MD, MPH
            FUNDING AGENCY: Milwaukee Mental Health Association via Substance Abuse and Mental Health Services
            Administration

        38. “Public Health Injury Surveillance and Program Development”
            AWARD FOR FISCAL YEAR: 2005-2006
            TOTAL AWARD: $93,228
            PRIMARY INVESTIGATOR: Stephen W. Hargarten, MD, MPH
            FUNDING AGENCY: Injury Prevention Program, Wisconsin Dept of Health and Family Services
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                                                                             Stephen W. Hargarten, MD, MPH
        39. “Toward Regional Priorities for Injury Prevention”
            AWARD FOR FISCAL YEAR: 2003
            TOTAL AWARD: $22,727
            PRIMARY INVESTIGATOR: Stephen W. Hargarten, MD, MPH
            FUNDING AGENCY: Wisconsin Department of Health and Family Services

        40. “Deaths to US Travelers Abroad”
            AWARD FOR FISCAL YEAR: 2002
            TOTAL AWARD: $50,000
            PRIMARY INVESTIGATOR: Stephen W. Hargarten, MD, MPH
            FUNDING AGENCY: Center for Disease Control and Prevention

        41. “Annie E. Casey Foundation”
            AWARD FOR FISCAL YEAR: 2002
            TOTAL AWARD: $68,181
            PRIMARY INVESTIGATOR: Stephen W. Hargarten, MD, MPH
            FUNDING AGENCY: Annie E. Casey Foundation

        42. “Comprehensive Injury Center at the Medical College of Wisconsin”
            AWARD FOR FISCAL YEARS: 2001-2007
            TOTAL AWARD: $5,180,275
            PRIMARY INVESTIGATOR: Stephen W. Hargarten MD, MPH
            FUNDING AGENCY: Centers for Disease Control and Prevention

        43. “Grants for Injury Control Research Centers – Small Project 4”
            AWARD FOR FISCAL YEARS: 2001-2004
            TOTAL AWARD: $ 66,672
            CO-INVESTIGATOR: Stephen W. Hargarten, MD, MPH
            FUNDING AGENCY: Centers for Disease Control and Prevention

        44. “Grants for Injury Control Research Centers – Large Project 4”
            AWARD FOR FISCAL YEARS: 2001-2006
            TOTAL AWARD: $ 204,000
            PRINCIPAL INVESTIGATOR: Stephen W. Hargarten, MD, MPH
            FUNDING AGENCY: Centers for Disease Control and Prevention

        45. “Grants for Injury Control Research Centers – Large Project 3”
            AWARD FOR FISCAL YEARS: 2001-2006
            TOTAL AWARD: $100,000
            CO-INVESTIGATOR (IN KIND): Stephen W. Hargarten, MD, MPH
            FUNDING AGENCY: Centers for Disease Control and Prevention

        46. “Grants for Injury Control Research Centers – Core A”
            AWARD FOR FISCAL YEARS: 2001-2006
            TOTAL AWARD: $ 137,380
            PRINCIPAL INVESTIGATOR: Stephen W. Hargarten, MD, MPH
            FUNDING AGENCY: Centers for Disease Control and Prevention

        47. “2nd Annual Emerging Injury Conference: International Travel Related Injury”
            AWARD FOR FISCAL YEARS: 2001-2002
            TOTAL AWARD: $ 50,000
            PRINCIPAL INVESTIGATOR: Stephen W. Hargarten, MD, MPH
            FUNDING AGENCY: Centers for Disease Control and Prevention

        48. “NVDRS – Intentional Injuries and Assaults”
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                                                                              Stephen W. Hargarten, MD, MPH
            AWARD FOR FISCAL YEARS: 2001-2002
            TOTAL AWARD: $ 75,774
            PRIMARY INVESTIGATOR: Stephen W. Hargarten, MD, MPH
            FUNDING AGENCY: Wisconsin Office of Justice Assistance

        49. “Improving Patient Safety: Health Systems Reporting, Analysis, and Safety Improvement Research
            Demonstrations”
            AWARD FOR FISCAL YEARS: 2001-2004
            TOTAL AWARD: $1,418,594
            CO-PI: Stephen W. Hargarten, MD, MPH
            FUNDING AGENCY: Agency for Healthcare Research and Quality

        50. “International Injuries and Assaults”
            AWARD FOR FISCAL YEARS: 2001-2002
            TOTAL AWARD: $ 68,196
            PRINCIPAL INVESTIGATOR: Stephen W. Hargarten, MD, MPH
            FUNDING AGENCY: State of Wisconsin

        51. “Building a National Firearm Injury Reporting System”
            AWARDED FOR FISCAL YEARS: 2000 - 2001
            TOTAL AWARD: $50,000
            PRINCIPAL INVESTIGATOR: Stephen W. Hargarten, MD, MPH
            FUNDING AGENCY: Funder’s Collaborative for Gun Violence Prevention by Harvard School of Public Health
            National Violent Injury Statistics System (NVISS)

        52. “Preventing Firearm Suicides and Unintentional Deaths”
            AWARD FOR FISCAL YEARS: 2000-2001
            TOTAL AWARD: $60,000
            PRINCIPAL INVESTIGATOR: Stephen W. Hargarten, MD, MPH
            FUNDING AGENCY: Funder’s Collaborative for Gun Violence Prevention by Johns Hopkins Center for Gun Policy
            & Research

        53. “A Comprehensive Model for Firearm Injury Reporting, Analysis and Information” – Joyce 5
            AWARD FOR FISCAL YEARS: 1999-2002
            TOTAL AWARD: $771,924
            PRINCIPAL INVESTIGATOR: Stephen W. Hargarten, MD, MPH
            FUNDING AGENCY: Joyce Foundation

        54. “Closing the Gap: Applying Injury Control Science to Patient Safety”
            AWARD FOR FISCAL YEARS: 1999-2000
            TOTAL AWARD: $24,316 and $30,000
            PRINCIPAL INVESTIGATOR: Stephen W. Hargarten, MD, MPH
            FUNDING AGENCY: Centers for Disease Control and Prevention

        55. “In the Wake of a Gunshot”
            AWARD FOR FISCAL YEARS: 1999-2000
            TOTAL AWARD: $10,000
            PRINCIPAL INVESTIGATOR: Stephen W. Hargarten, MD, MPH
            FUNDING AGENCY: Wisconsin Humanities Council and the National Endowment for the
            Humanities

        56. “Strategic Development of State Firearm Injury Reporting Systems”
            AWARD FOR FISCAL YEARS: 1999-2000
            TOTAL AWARD: $116,911
            PRINCIPAL INVESTIGATOR: Stephen W. Hargarten, MD, MPH
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                                                                           Stephen W. Hargarten, MD, MPH
            FUNDING AGENCY: Open Society Institute

        57. “Wisconsin Firearm Injury Reporting Systems (FIRS) – Joyce 4
            AWARD FOR FISCAL YEARS: 1998-1999
            TOTAL AWARD: $95,912
            PRINCIPAL INVESTIGATOR: Stephen W. Hargarten, MD, MPH
            FUNDING AGENCY: Joyce Foundation

        58. “Wisconsin Drug Abuse Emergency Room Registry”
            AWARD FOR FISCAL YEARS: 1998-1999
            TOTAL AWARD: $1500
            PRINCIPAL INVESTIGATOR: Stephen W. Hargarten, MD, MPH
            FUNDING AGENCY: State of Wisconsin, Dept. of Health & Family Services

        59. “National Firearm Information Center” – Joyce 3
            AWARD FOR FISCAL YEARS: 1997-2000
            TOTAL AWARD: $391,581
            PRINCIPAL INVESTIGATOR: Stephen W. Hargarten, MD, MPH
            FUNDING AGENCY: Joyce Foundation

        60. “Firearm Injury Reporting System” – Joyce II
            AWARD FOR FISCAL YEARS: 1996-1998
            TOTAL AWARD: $194,538
            PRINCIPAL INVESTIGATOR: Stephen W. Hargarten, MD, MPH
            FUNDING AGENCY: Joyce Foundation

        61. “Brief Strategies for Alcohol-Related Non-traffic Injuries”
            AWARD FOR FISCAL YEAR: 1996
            TOTAL AWARD: $10,904
            PRINCIPAL INVESTIGATOR: Stephen W. Hargarten, MD, MPH
            FUNDING AGENCY: University of Wisconsin – Madison

        62. “Firearm Surveillance System - Wisconsin”
            AWARD FOR FISCAL YEAR: 1994-1997
            TOTAL AWARD: $150,000
            CO-DIRECTOR: Stephen Hargarten, MD, MPH
            FUNDING AGENCY: Division of Health, State of Wisconsin

        63. “Firearm Injury Reporting System”
            AWARD FOR FISCAL YEAR: 1994-95
            TOTAL AWARD: $50,000
            PRINCIPAL INVESTIGATOR: Stephen Hargarten, MD, MPH
            FUNDING AGENCY: Faye McBeath Foundation

        64. "Firearm Injury Reporting System" – Joyce II
            AWARD FOR FISCAL YEAR: 1994-95
            TOTAL AWARD: $79,997
            PRINCIPAL INVESTIGATOR: Stephen Hargarten, MD, MPH
            FUNDING AGENCY: Joyce Foundation

        65. "Emergency Room Drug Abuse Data"
            AWARD FOR FISCAL YEARS: 1992 - 2000
            TOTAL AWARD: $5,000/yr.
            PRINCIPAL INVESTIGATOR: Stephen Hargarten, MD, MPH
            FUNDING AGENCY: State of Wisconsin
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                                                                            Stephen W. Hargarten, MD, MPH

         66. "Crash Outcome Data Evaluation (CODES) in Wisconsin"
             AWARD FOR FISCAL YEAR: 1992-1993
             TOTAL AWARD: $15,000
             CO-INVESTIGATOR: Stephen Hargarten, MD, MPH
             FUNDING AGENCY: National Highway Traffic Safety Administration

         67. "Partnerships in Health/EMS Training for Poland"
             AWARD FOR FISCAL YEARS: 1992-1994
             TOTAL AWARD: $2.4 million
             ASSOCIATE DIRECTOR: Stephen Hargarten, MD, MPH
             FUNDING AGENCY: United States Agency for International Development

         68. “Emergency Medical Services Course for Physicians"
             AWARD FOR FISCAL YEAR: 1992
             TOTAL AWARD: $29,789.00
             PRINCIPAL INVESTIGATOR: Stephen Hargarten, MD, MPH
             FUNDING AGENCY: Wisconsin Department of Transportation

         69. "Motorboat Propeller Injuries in Wisconsin 1987-1989"
             AWARD FOR FISCAL YEAR: 1991
             TOTAL AWARD: $2,000.00
             PRINCIPAL INVESTIGATOR: Stephen Hargarten, MD, MPH
             FUNDING AGENCY: Institute for Injury Reduction

         70. "Electronic Log System for Emergency Department"
             AWARD FOR FISCAL YEAR: 1990
             TOTAL AWARD: $40,356.00
             PRINCIPAL INVESTIGATOR: Stephen Hargarten, MD, MPH
             FUNDING AGENCY: Wisconsin Department of Transportation

         71. "Cost & Data Analysis of Motor Vehicle Trauma in Milwaukee County"
             AWARD FOR FISCAL YEAR: 1990
             TOTAL AWARD: $3,417.00.
             PRINCIPAL INVESTIGATOR: Stephen Hargarten, MD, MPH
             FUNDING AGENCY: Wisconsin Department of Transportation

         72. "Hunting Injuries and Illnesses in Montana 1990"
             AWARD FOR FISCAL YEAR: 1990
             TOTAL AWARD: $2,500.00
             PRINCIPAL INVESTIGATOR: Stephen Hargarten, MD, MPH
             FUNDING AGENCY: Wilderness Medical Society

         73. "Motor Vehicle Crashes - Emergency Physician Costs"
             AWARD FOR FISCAL YEAR: 1990
             TOTAL AWARD: $6,000.00
             PRINCIPAL INVESTIGATOR: Stephen Hargarten, MD, MPH
             FUNDING AGENCY: Wisconsin Safety Belt Coalition


      Invited Lectures/Testimony:

         1. “Gun Violence as a Biopsychosocial Disease,” Midwest Injury Prevention Alliance Virtual Summit,
            December 9, 2020.
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        2. “Global Health from Neighborhoods to Nations”, Milwaukee Academy of Medicine, Virtual Webinar,
           November 17, 2020.

        3. “Impact of COVID-19 on the University’s Global Health Programming,” 7th Annual Midwestern Universities
           for Global Health, Virtual Webinar, September 30.

        4. “Gun Violence in the Americas: Local Solutions to a Hemispheric Challenge,” Consortium of Universities for
           Global Health, Virtual Webinar, July 16, 2020.

        5. “Assault Weapons Ban in the Americas,” Newtown Action Alliance, Virtual Webinar, July 9, 2020.

        6. “Gun Violence in Mexico and Central America,” Consortium of Universities for Global Health, Virtual
           Webinar, April 21, 2020.

        7. “The Milwaukee Global Health Landscape Study,” Milwaukee Global Health Consortium, Virtual Webinar,
           April 13, 2020.

        8. “Gun Violence in the Americas Focus: Mexico,” Consortium of Universities for Global Health, Virtual
           Webinar, March 24, 2020.

        9. “Physician Advocacy,” Medical College of Wisconsin Health Policy and Advocacy Course, Milwaukee, WI,
           March 23, 2020.

        10. “Understanding the Biopsychosocial Aspects of Violence Involving Firearms,” American Hospital Association
            Webinar Series on Gun Violence, Virtual Presentation, February 19, 2020.

        11. “Gun Violence: A Biopsychosocial Disease,” 2020 Comprehensive Injury Center Lecture Series, Medical
            College of Wisconsin, Milwaukee, WI, January 23, 2020.

        12. Assembly Health Committee Public Hearing (Military Civilian Partnership + Cancer Clinical Trials
            Legislation), Madison, WI, January 7, 2020.

        13. “Global Burden of Gun Violence,” University of Wisconsin Population Health Seminar Series, University of
            Wisconsin, Madison, WI, December 2, 2019.

        14. “Gun Violence: A Biopsychosocial Disease,” Department of Medicine Grand Rounds, Medical College of
            Wisconsin, Milwaukee, WI, September 27, 2019.

        15. “Suicide in Wisconsin: Considerations for Prevention,” Wisconsin State Legislature’s Suicide Prevention
            Task Force Testimony, Milwaukee, WI, September 9, 2019.

        16. “Gun Violence: A Biopsychosocial Disease,” Department Conference, Department of Emergency Medicine,
            Medical College of Wisconsin, Milwaukee, WI, August 8, 2019.

        17. “Road Traffic Injury Prevention and Violence Injury Prevention,” International Congress on Emergency
            Medicine Meeting, Seoul, South Korea, June 12, 2019.

        18. “Gun Violence Prevention: Dispelling Myths, Understanding Science, Strengthening Prevention, Programs,
            and Policies,” Community Conversations, La Crosse, WI, April 24, 2019.

        19. “Gun Violence: A Biopsychosocial Disease,” Toward One Wisconsin Inclusivity Conference, Milwaukee, WI,
            April 11, 2019.

        20. “Motor Vehicle Crash Deaths and Injury – Moving to Zero,” Wisconsin Medical Society Physician Education
            Conference, Madison, WI, April 6, 2019.
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        21. “Gun Violence: A Biopsychosocial Disease,” Wisconsin Medical Society Physician Education Conference,
            Madison, WI, April 6, 2019.

        22. “Injury as a Biopsychosocial Disease,” Wisconsin Violence and Injury Prevention Program Summit,
            Madison, WI, April 4, 2019.

        23. “Gun Violence: A Biopsychosocial Disease,” Society for the Advancement of Violence and Injury Research
            Conference, Cincinnati, OH, April 2, 2019.

        24. “Gun Violence: A Complex Biopsychosocial Disease,” Grand Rounds, University of Wisconsin School of
            Medicine and Public Health, Madison, WI, February 21, 2019.

        25. “Why Do Health Systems Have A Role?” NASEM: Health Systems Interventions to Prevent Firearm Injuries
            & Death – A Workshop, Washington DC, October 17, 2018

        26. “Vision Zero – Emphasis on Public Health” Transportation Research Board Transportation Safety
            Management Mid-Year Meeting, Washington DC, July 30, 2018

        27. “Gun Violence: A Biopsychosocial Disease: Myths, Science & Prevention”, 2018 Preventive Medicine
            Annual Meeting, American College of Preventive Medicine, Chicago, ILL, May 24, 2018

        28. “International Challenges and Higher Education”, 39th Annual National Conference on Law & Higher
            Education. Stetson University College of Law, Clearwater, FL, February 3, 2018

        29. “Faculty promotion for global health” 4th Annual Midwest Universities for Global Health Meeting: Capacity
            Building in Global Health at Washington University Medical School, December 1, 2017.

        30. “Gun Violence: A Biopsychosocial Disease: Physician Roles and Responsibilities”, Grand Rounds,
            University of Michigan Emergency Medicine Residency Conference, Ann Arbor, MI, November 8, 2017.

        31. “International Partnerships: Global Wisdom, Global Citizens” American Association of Medical Colleges,
            Boston, MA, November 5, 2017.

        32. “Legal Characteristics of Emergency Medicine” Belize Medical and Dental Association XXXVI Congress,
            Belize City, Belize, October 17, 2017.

        33. “Global Health Challenges: The Burden of Injury” University of Norte Dame Eck Institute for Global Health,
            Norte Dame, IN September 28, 2017.

        34. “Gun Violence: Myths, Science, Opportunities”, Underground Science Society, The Sugar Maple,
                          i. Milwaukee, WI, September 11, 2017.

        35. “Gun Violence as a Biopsychosocial Disease Burden: Our Roles and Responsibilities” for The Violence Epidemic:
            Justice, Public Health and Ethics, Center for Bioethics and Medical Humanities, Medical College of Wisconsin,
            Milwaukee, WI, June 13, 2017.

        36. “Global Burden of Road Traffic Injury: Opportunities and Strategies for Prevention and Control: Roles of Civil
            Society” Consortium of Universities for Global Health, Washington DC, April 8, 2017.

        37. “Gun Violence: A Biosocial Disease” Keynote for Wisconsin Chapter of American College of Emergency
            Physician’s 2017 Spring Symposium, Madison, WI, March 28, 2017.

        38. “Global Burden of Injury” Hainan Medical University, Hainan, China, March 15, 2017.
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        39. “MCW’s Impact on the World: From Milwaukee, Wisconsin to Around the Globe”, MCW/Marquette Medical
            Alumni Association 51st Clinical Conference, Sonoma, CA, March 7, 2016.

        40. “Global Health and Medical Education: The Ethics of Short-term International Electives” Advancing Global
            Health: Ethical and Logistical Issues, Bronx, NY, December 5, 2016.

        41. “Global Emergencies” Belize Medical and Dental Association XXXV Congress, Belize City, Belize,
            November 17, 2016

        42. “Shoot to Kill: Shooting Trends Across the Nation” Panel at Marquette University, Milwaukee, WI,
                            i. October 14, 2016.

        43. “Gun Violence: A Biosocial Disease”, Sanford Trauma Symposium, South Dakota Department of Health, Sioux
            Falls, SD, October 11, 2016.

        44. “Global Health from a Milwaukee Perspective” Marquette University Global Health Symposium, Milwaukee,
            September 30, 2016

        45. “Study Abroad Student Safety”, Wisconsin Association of Independent Colleges and Universities Student
            Safety Workshop, Milwaukee, September 28, 2016

        46. “Global Health Challenges”, Notre Dame University, Notre Dame, IN, September 1, 2016

        47. "Beyond the Basics of Health, Safety, Security and Risk Management", Keynote Speaker for The Forum on
            Education Abroad Standards of Good Practice Institute, Northwestern University, Evanston, IL, June 23,
            2016.

        48. “Global Burden of Injury” University College of Dublin, Dublin, Ireland, June 8, 2016

        49. “Global Health: The Ultimate Sustainable Challenge”, Sustainability Summit, Milwaukee, May 13, 2016

        50. “Medical Student Perspectives on Global Health” MCW Today, Tomorrow, and Beyond Symposium Alumni
            Weekend, Milwaukee, April 30, 2016

        51. “Gun Violence: A Biosocial Disease” for Medical College of Wisconsin Nursing Trauma Conference,
            Milwaukee, WI, April 23, 2016.

        52. “Gun Violence: A Biosocial Disease”, Keynote Speaker for Gun Violence: A Public Health Symposium,
            Washington University – Institute for Public Health, St. Louis, MO, April 5, 2016.

        53. “How Violence Impacts Public Health”, Panel Participant for University of Wisconsin-Zilber School of Public
            Health, Milwaukee, WI, February 25, 2016.

        54. “Programs and Policy: Addressing a Global Need for Surgery and Emergency Care” and “Global Burden of
            Injury”, Global Health Conference Midwest, Creighton University, Omaha, NE, February 6, 2016.

        55. “Inequality and Freedom from Violence: Community violence has identifiable causes and implementable
            cures” University of Wisconsin-Milwaukee Fireside Forum, Milwaukee, WI, February 2, 2016

        56. “Global Health: Managing Health & Safety”, 2nd Annual Midwestern Universities for Global Health, Rush
            University, Chicago, IL, December 2, 2015

        57. “Global Burden of Injury” Visiting Professor, Notre Dame, Notre Dame, IN, October 15, 2015

        58. “Global Burden of Injury” Visiting Professor, University of Wisconsin, Madison, WI, October 12, 2015
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        59. “Challenges and Opportunities in Academic Medicine: Collaborating for Global Health” Visiting Professor,
            Universidad Católica de Guayaquil, Guayaquil, Ecuador, May 6, 2015

        60. “Disaster Preparedness & Response: An All Hazard Approach” Consortium of Universities for Global Health Annual
            Meeting, Boston, MA, March 26, 2015

        61. “Injury Science and Geriatrics: Coming of Age Together”, Visiting Professor, Weill Cornell Medical College, Division
            of Geriatrics & Palliative Medicine Grand Rounds, New York, NY, February 12, 2015

        62. “Emergency Medicine and Injury Prevention and Control: A Room with a View”, Visiting Professor, Weill Cornell
            Medical College, Divisions of Emergency Medicine and Geriatrics & Palliative Medicine Grand Rounds, New York,
            NY, February 11, 201.5

        63. “Firearm Injuries”, Community Memorial Hospital Medical Staff Education Program, Menomonee Falls, WI,
            January 16, 2015.

        64. “Firearm Injuries”, Institute of Medicine Forum on Violence, Washington, DC, December 17, 2014

        65. “Global Health Managing Traveler Safety” Midwest Universities for Global Health Inaugural Meeting,
            University of Illinois at Chicago Center for Global Health, December 3, 2014

        66. “Global Health and Medical Education: The Ethics of Short-term International Electives” Advancing Global
            Health: Education, Building, and Support, Albert Einstein College of Medicine, Bronx, New York, November
            10, 2014

        67. “Strengthening Emergency Care in Belize” 33rd Belize Medical and Dental Association International
            Congress, Belize City, Belize, October 31, 2014

        68. “Triage Use and Implementation” 33rd Belize Medical and Dental Association International Congress, Belize
            City, Belize, October 31, 2014

        69. “The Science of Injury Prevention and Control” University of Zagreb School of Medicine, Zagreb, Croatia,
            September 9, 2014

        70. “Challenges and Opportunities in Academic Medicine: Collaborating for Global Health”, University of
            Rzeszow Jubilee of Medical Faculty, Rzeszow, Poland, September 5, 2014

        71. "Burden of Global Violence/Injury” for the 2014 World Affairs Seminar, Carroll University, Waukesha,
            Wisconsin, June 23, 2014

        72. “Practical advice for implementing useful global health curricula and effective academic programs” USAID
            The Future of Global Health: Building Better Professionals & Programs, Washington DC, May 9, 2014

        73. “Global Health and Partnerships” Shanghai Minhang Central Hospital, Shanghai, China, April 25, 2014

        74. “Organizing Injury prevention and control programs" 2014 China- US-Japan Summit Forum of Emergency
            Medicine, Xinhua Hospital, Shanghai, China, April 25, 2014

        75. “Technical Consultation for United Nations Office for Disarmament Affairs”, Research and Information Gathering
            Participant, UN Headquarters, New York, NY, November 19, 2013.

        76. “Gun Violence as a Public Health Issue”, Tuesday Speaker for Milwaukee Rotary Club, War Memorial, Milwaukee,
            WI, October 29, 2013
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        77. “Transportation Safety and Injury Prevention,“ Keynote Speaker for Midwest Conference of Institute of
            Transportation Engineers, Pfister Hotel, Milwaukee, WI, June 27, 2013.

        78. “Patient Safety or Injury Control: Two Worlds or One?”, Patient Safety Summit, Johns Hopkins, Baltimore, MD,
            June 21, 2013

        79. “Gun-Related Violence”, Guest Speaker for Milwaukee Forum, Haggerty Museum, Milwaukee, WI, January 17,
            2013.

        80. “Gun Policy Summit”. Expert Panel Participant, Johns Hopkins University, Baltimore, MD, January 14-15, 2013.

        81. “Emergency Medicine: Going Global”, Guest Speaker for Klippel Lecture, Washington University School of
            Medicine, St. Louis, MO, December 4, 2012.

        82. “Global Burden of Injury”, Introduction to Public Health: Global Health, Carroll University, Waukesha, WI, November
            30, 2012, April 20, 2012, November 11, 2011

        83. “Gun Violence: The Strengths and Limits of the Disease Model”, Guns in America: Conflicting Points of View,
            University of Wisconsin, Madison, WI, November 1, 2012.

        84. “Increasing Utilization of NVDRS Data”, National Violent Death Reporting System Reverse Site Visit, Atlanta, GA,
            September 13, 2011.

        85. “Researching Car Crashes and Gun Shot Wounds: Products, Problems, Policies,“ and “Opportunities in Injury
            Research: Getting Started and Connecting the Dots”, Visiting Lecturer for the University of Alberta, Canada, June,
            2011.

        86. “Congressional Briefing”. Expert Testimony, Association for Safe International Road Travel and the U.S.
            Congressional Caucus on Global Road Safety, United Nations Decade of Action for Road Safety 2011-2020 United
            Nations, Washington, DC, May 11, 2011.

        87. “The Team Approach to Caring for Acutely Injured Patients”, Jao Tong University, Xinhua Hospital, Shanghai,
            China, November 9, 2010.

        88. “Trauma Evaluation and Management, TEAM” for 29th Belize Medical and Dental Association International Pre-
            Congress, Belize City, Belize, October 20, 2010.

        89. “The Emergency Department and Systems Approach to Emergency Medicine” for 29th Belize Medical and Dental
            Association International Pre-Congress, Belize City, Belize, October 19, 2010.

        90. “The Public Health Approach to Violence Prevention in Health Care Settings” for International Association for
            Healthcare Security and Safety Conference, Baltimore, MD, June 22, 2009.

        91. “Epidemiology of Travel-Related Injury & Death” for 11th Conference of the International Society of Travel Medicine,
            Budapest, Hungary, May 26, 2009.

        92. “Reducing Firearm Injuries and Death: A Public Health Approach” for Trauma Conference, Kent State University,
            Canton, OH, November 7, 2008.

        93. “Guns and Cars: A Tale of Product Design Flaws Linked with Death & Injury” for Trauma Conference Kent State
            University, Canton, OH, November 7, 2008.

        94. “Gun Violence” for Grand Rounds, Mount Sinai Hospital, Milwaukee, WI, October 17, 2008.
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        95. “Town Hall Meeting – Status of Impaired Driving in Wisconsin” for MADD, NHTSA, DOT in Middleton, WI, August
            14, 2008.

        96. “Guns and Cars: Stories for preventing car and gun related deaths” for Grand Rounds, Columbia-St. Mary’s,
            Milwaukee, WI, June 13, 2008.

        97. “Panel on Urban Studies Programs” for 2nd Annual Henry W. Maier State of Milwaukee Summit, Milwaukee, WI,
            April 30, 2008.

        98. “The Public Health Approach to Reduce Alcohol Related Injury and Death” Noon Conference for
            Gundersen Lutheran Trauma & Emergency Center, LaCrosse, WI, November 1, 2007

        99. “From the Bedside to the Community and Beyond: The Physician’s Role in Injury Prevention and Control”, Grand
            Rounds, Philadelphia, PA, October 23, 2007.

        100. “Public Health Approach to Reducing the Burden of Suicide” Grand Rounds for Psychiatry, St. Joseph’s Outpatient
             Conference Center, Milwaukee, WI, June 20, 2007.

        101. “Violence is a Disease”, 2007 Global Health and Social Justice Conference, University of Wisconsin-Milwaukee
             College of Nursing, Milwaukee, WI, March 29, 2007.

        102. “Burden of Injury in Wisconsin: Spelling It Out”, Injury Summit, Holiday Inn, Neenah, WI, October 25, 2006.

        103. “Injury Policy Forum”, EMSC Policy Forum, Monona Terrace, Madison, WI, March 21, 2006.

        104. “To Be or Not to Be: Case Studies in Injury Control and Advocacy”, Seminar on Gun Violence, University of
             Wisconsin, Population Health Institute, Madison, WI, December, 2005.

        105. “Emergency Medicine Leadership”, Yale University, Section of Emergency Medicine, April 2005

        106. “Emergency Medicine Leadership,” Brown University, Department of Emergency Medicine, March 2005

        107. “Emergency Medicine Leadership”, University of Alabama-Birmingham, Department of Emergency Medicine,
             November 2002

        108. “Medical Examiner and Coroner Data for Public Health: A Model Linked System”, Institute of Medicine Workshop
             on the Medicolegal Death Investigation System, Washington, DC, March 23-25, 2003.

        109. “The National Violent Death Reporting System: It’s About Time We’re Connecting-the-Dots for Injury Prevention”,
             University of North Carolina Injury Prevention Research Center Seminar, Chapel Hill, NC, March 17-19, 2003.

        110. “Emergency Medicine Leadership in the 21st Century: Guns and Cars, Acute Care, and Injury Prevention”,
             University of North Carolina Injury Prevention Research Center Seminar, Chapel Hill, NC, March 17-19, 2003.

        111. “Medical Injury”, Grand Rounds at the University of Western Ontario, Ontario, Canada, January 24, 2003.

        112. “Planning for a State Violent Death Reporting System”, National Violent Death Reporting System Implementation
             Training, Atlanta, Georgia, January 16-17, 2003.

        113. “Advocacy in Emergency Medicine”, Grand Rounds at the University of Alabama Birmingham, Birmingham, A.,
             November 20, 2002.

        114. “Causes of Gun Crime”, American Society of Criminology Conference, Chicago, IL, November 12, 2002.
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        115. “Nonfatal Gun Injuries – What We Know, Don’t Know and Need to Know”, The 7th HELP Network Conference,
             Chicago, IL, October 27, 2002.

        116. “Youths and Guns”, Gun Violence Workshop, The National Academies National Research Council Institute of
             Medicine, Washington, D.C., September 16, 2002.

        117. “Injury Prevention: Creating an Agenda for Action”, Springfield, Illinois, July 31, 2002.

        118. “The Public Health Approach to reducing firearm related deaths”, Coalition Against Gun Violence, Cleveland, Ohio,
             June 6, 2002.

        119. “The Physician Scientist as Advocate”, The Spivey Lecture, Society for Academic Emergency Medicine Annual
             Meeting, St. Louis, MO, May 16, 2002.

        120. “Firearm suicides: A two-state comparison”, 6th World Conference on Injury Prevention and Control, Montreal,
             Quebec, Canada, May 12-15, 2002.

        121. “Travel related injury prevention for students”, NAFSA Conference, University of Wisconsin Milwaukee, Milwaukee,
             WI, April 18, 2002.

        122. “Suicide among Wisconsin farmers”, American Association of Suicidology, 35th Annual Conference, Bethesda, MD,
             April 10-13, 2002.

        123. “The relationship between health providers and law enforcement: Information sharing and lessons learned in the
             Firearm Injury Reporting System”, 30th Annual Conference on Value Inquiry – Values in Health Care: Past, Present
             and Future, Milwaukee, WI, April 4-6, 2002.

        124. “The Public Health Approach to Reducing Firearm Injuries”, 13th Annual Trauma Symposium for Coastal Area
             Health Education Center, Wilmington, NC, February 9, 2002.

        125. “Emergency Medicine and Advocacy”, Department of Emergency Medicine Grand Rounds at Johns Hopkins
             School of Medicine, Baltimore, MD, January 31, 2002.

        126. “Gun Violence and Gun Policy Conference”, Brookings Institute, Washington, D.C., January 25, 2002.

        127. “Emergency Medicine Advocacy: A Model Discussion”, Northwestern University, Department of Emergency
             Medicine, December 2001.

        128. “Emergency Medicine Advocacy”, Northwestern University, Chicago, Illinois, December 19, 2001.

        129. “Firearm suicide in Wisconsin 1999: Urban/rural and age-related patterns”, Mobilizing for a Safe USA, Atlanta, GA,
             December 3-5, 2001.

        130. “Improve Research Information and Data on Firearms”, National Academy of Science Committee, 2nd Meeting,
             Irvine, CA, November 15, 2001.

        131. “The Public Health Approach to Reducing Firearm Injuries”, AMA Key Stakeholders Meeting, Oak Brook, IL,
             November, 2001.

        132. “Linking the gun with homicides and suicides: A model analysis of the who, when, and where of the gun’s first
             purchase”, American Society of Criminology, Atlanta, GA, November 6-10, 2001.

        133. “Firearm Injury Data Systems”, AMA Science Reporters Conference, San Francisco, California, October 30, 2001.
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        134. “Firearm suicide: The Wisconsin experience, 1999”, American Public Health Association, 129th Annual Meeting,
             Atlanta, Georgia, October 20-24, 2001.

        135. “Relationship of household gun ownership to firearm suicide rates in Wisconsin communities”, American Public
             Health Association, 129th Annual Meeting, Atlanta, Georgia, October 20-24, 2001.

        136. “Firearm Homicide in Milwaukee and the Progress of the Firearm Injury Reporting System”, The Milwaukee Fire
             and Police Commission, Milwaukee, Wisconsin, October 18, 2001.

        137. “Identification and Classification of Homicide in Wisconsin 2000: A Comparison of Two Data Systems”, Medical
             College of Wisconsin 2001 Student Research Forum, Milwaukee, Wisconsin, October 4, 2001.

        138. “Demonstrating the Linkage of Data Sets from the Firearm Injury Center and the City of Milwaukee Using
             Geographic Information System Analysis” Medical College of Wisconsin 2001 Student Research Forum,
             Milwaukee, Wisconsin, October 4, 2001.

        139. “The Public Health Challenge and the Model Firearm Injury Reporting System”, Plenary Presentation, Aiming for
             Prevention: International Medical Conference on Small Arms, Helsinki, Finland, September 28-30, 2001.

        140. “Highlights of the Firearm Injury Reporting System’s first statewide report: Investigating regional differences”, 13th
             Annual Milwaukee County Medical Examiners Office Forensic Science Seminar, Milwaukee, Wisconsin,
             September, 2001.

        141. “What We Don’t Know is Killing Us: The Need for Better Data about Firearm Injuries and Deaths”, National
             Academy of Sciences Committee on Law and Justice, Washington, DC, August 30, 2001.

        142. “Injury Control of Gun Shot Wounds”, Advances in Trauma, American College of Surgeons, Kansas City, Missouri,
             December 8, 2000.

        143. “Trauma Care in the State of Wisconsin”, 2000 Annual Meeting of the Wisconsin Chapter of the American College
             of Surgeons, Waukesha, Wisconsin, December 2, 2000.

        144. “Travel Health: Clinical Issues for Occupational and Environmental Health Providers”, American Occupational
             Health Conference, American College of Occupational and Environmental Medicine, Philadelphia, Pennsylvania,
             May 18, 2000.

        145. “To Be or Not to Be a Physician Scientist Advocate: That is the Question”, Emergency Medicine Spring Research
             Forum, University of Michigan, Ann Arbor, May 2000.

        146. “US Citizen Deaths Abroad: What we know, don’t know, and need to know to prevent them”, Occupational Health
             Conference, Philadelphia, Pennsylvania, May 14, 2000.

        147. “Firearms: The Need for Better Information and Safer Guns”, Commission for the Prevention of Youth Violence,
             American Medical Association, Houston Texas, May 9, 2000.

        148. “Understanding State-of-the-Art Treatment & Prevention of Firearm Injuries”, National Conference for Health Care
             Professionals, Froedtert Memorial Lutheran Hospital, Milwaukee, WI, December 10-11, 1999.

        149. “Better Data, Safer Guns Equals Fewer Injuries”, Gun Violence Forum, Entertainment Industries Council, Los
             Angeles, California, November 3-4, 1999.

        150. “Bridging the Gap between Information and Policy: A Public Health Approach to Reducing Firearm Injuries”,
             Conference of Wisconsin Network for Health Policy Research, University of Wisconsin School of Medicine,
             Madison, WI, November 4-5, 1999.
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        151. “Counting Firearm-related Deaths: A case study for better surveillance and knowledge through data linkage,”
             Emergency Medicine New England Conference, Newport, Rhode Island, August 11-13, 1999.

        152. “Guns, Cars & Death: A View from a Room,” Department of Emergency Medicine and Division of Traumatology
             and Surgical Critical Care Grand Rounds, University of Pennsylvania Medical Center, Philadelphia, PA, July 9,
             1999.

        153. “The Scientist as Policy Advocate: Clarifying the Issues and Framing the Data for Effective Policy Development and
             Debate,” 1999 Society for Academic Emergency Medicine Annual Meeting, Boston, MA, May 23, 1999.

        154. “Firearm Injury Surveillance”, The 5th Annual Citizens’ Conference to Stop Gun Violence, The Educational Fund to
             End Handgun Violence, Washington DC, November 13-14, 1998.

        155. “Public Health Strategies to Address Family Violence”, National Advisory Council on Family Violence, Rosemont,
             IL, April 4, 1998.

        156. “Rapid Deceleration Injuries Involving Recreational Vehicles”, Flight for Life’s Annual Emergency Services
             Conference: Trends and Issues 1998, Flight for Life, Milwaukee, WI, April 4, 1998.

        157. “Rapid Deceleration Injuries Involving Recreational Vehicles”, Flight for Life’s Annual Emergency Services
             Conference: Trends and Issues 1998, Flight for Life, Milwaukee, WI, March 31, 1998.

        158. “Taking Aim at Cars and Guns”, Skills Fair 1998, Shared Governance Development Council, Froedtert Memorial
             Lutheran Hospital, Milwaukee, WI, March 26, 1998.

        159. “Preventing Firearm Injury: Protecting Our Children”, Firearm Injury Prevention Training Conference, American
             Academy of Pediatrics, Chicago, IL, March 14-15, 1998.

        160. “Scope and Nature of Firearm Injury Research: Issues and Challenges” Injury Prevention Research Center, The
             University of Iowa, Iowa City, IO, February 1998.

        161. “Mechanism of Injury”, Flight for Life’s Trauma Nurse Specialist Course, Flight for Life, Milwaukee, WI, February 4,
             1998.

        162. “Scope and Nature of Firearm Injury Research: Issues and Challenges”, University of Iowa Injury Prevention
             Research Center, Iowa City, IO, February 3, 1998.

        163. “Adult Option of the Master’s Program in Nursing” Medical College of Wisconsin, Fall Semester, Marquette
             University College of Nursing, Milwaukee, WI, August 24 - December 6, 1997.

        164. National HELP Conference -Tracking the Firearm Epidemic National Conference, Washington DC, April 1997.

        165. Lafollette Institute-Public Health Model for Reducing Firearm Injuries and Deaths, Madison, WI, April 1997.

        166. “Futures in Emergency Medicine Research Conference, Macy Foundation, Washington D.C., March 1997 (invited
             as representing the Association of Academic Chairs in Emergency Medicine)

        167. “Emergency/Trauma Medicine.” Sheboygan Memorial Medical Center, Knights of Columbus Center, Sheboygan,
             WI, February 18, 1997.

        168. “Firearm Injury Prevention: A Model Strategy.” Medical College of Wisconsin, Winter Refresher Course for Family
             Physicians, Pfister Hotel, Milwaukee, WI, January 30, 1997.

        169. The Johns Hopkins School of Public Health and Hygiene, Gun Policy and Research Center, Baltimore, MD
             December 3-6, 1996.
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        170. “The Nature and Scope of Firearm Injury Research: Issues and Challenges.” Visiting Professor, The Johns
             Hopkins School of Public Health and Hygiene, Gun Policy and Research Center, Baltimore, MD, December 3-6,
             1996.

        171. “The Milwaukee County Firearm Injury Reporting System.” Healthy People, National Health Promotion and
             Disease Prevention Objectives, Violent and Abusive Behavior - 1996 Progress Review, Washington, DC,
             November 26, 1996.

        172. “Violence Prevention.” Tenth Annual Summer Trauma Symposium. Paper Valley Hotel & Conference Center,
             Appleton, WI, June 1996.

        173. “Teenage Violence.” Tenth Annual Summer Trauma Symposium. Paper Valley Hotel & Conference Center,
             Appleton, WI, June 1996.

        174. Injury Prevention and Control for Emergency Medicine, Department of Emergency Medicine, University of
             Pittsburgh Medical Center, Pittsburgh, PA, May 1996.

        175. ”Firearm Injury Surveillance System.” 1996 Attorney General’s Law Enforcement Conference, Stevens Point, WI,
             May 1996.

        176. ”The Milwaukee County Firearm Injury Reporting System.” Visiting Professor, Department of Emergency Medicine,
             University of Pittsburgh Medical Center, Pittsburgh, PA, May 1996.

        177. “Tracking the Epidemic.” Third Annual HELP Network Conference: Promoting Public Policy for the Public’s Health,
             guest lecturer, Washington, DC, November 1995.

        178. “Injury and Violence Prevention: Confronting the Crisis.” 69th National School Health Conference of the American
             School Health Association, Milwaukee, WI, October 1995.

        179. ”Guns and Violence: The Tragic Cost.” National Violence Prevention Conference, University of Iowa, Des Moines,
             IA, October 1995.

        180. “Monitoring Firearm Injuries.” National Violence Prevention Conference, University of Iowa, Des Moines, IA,
             October 1995.

        181. “Rural Trauma/Rural Violence.” Day of Country Medicine Conference, Howard Young Medical Center, Minocqua,
             WI, September 1995.

        182. “Firearm Violence and Gun Control in America.” Panel participant at the Wisconsin Surgical Society meeting, Lake
             Geneva, WI, September 1995.

        183. “Milwaukee County Firearm Injury Reporting System: A Model for Injury Prevention.” State of Wisconsin,
             Department of Health and Social Services, Milwaukee Managed Care Forum, Milwaukee, WI, August 1995.

        184. “Firearm Injury Prevention for Primary Care Physicians.” Family Practice Grand Rounds, Waukesha Memorial
             Hospital, August 1995.

        185. “Strategies to Reduce Firearm Deaths.” Wisconsin Council of Administrators of Special Services, Ltd., Madison,
             WI, May 1995.

        186. “Violence Prevention.” State Medical Society of Wisconsin Alliance, 66th Annual Convention, Milwaukee, WI, April
             1995.
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        187. “Emergency Medicine Research: A View from the Riverbank.” Faculty Development Seminar Series, University of
             Illinois at Chicago, Department of Emergency Medicine, Chicago, IL, March 1995.

        188. “Committee on Transportation and Infrastructure Subcommittee on Surface Transportation.” Advocates for
             Highway and Auto Safety, Washington, DC, March 1995.

        189. ”Firearm Injuries and Deaths.” Department of Psychiatry, University of Wisconsin - Madison Medical School,
             Milwaukee Campus, WI, March 1995.

        190. “Firearms, Violence and Prevention.” Public Issues Committee, Family Service of Milwaukee, Milwaukee, WI,
             March 1995.

        191. “Injury Control.” Grand rounds, Department of Emergency Medicine, William Beaumont Hospital, Department of
             Emergency Medicine, Royal Oak, MI, March 1995.

        192. “Understanding How to Access Health Care Delivery Systems II Conference.” Milwaukee Regional Medical
             Complex, Milwaukee, WI, March 1995.

        193. “Proposal to Establish a Reporting System for Firearm Injuries.” Public Issues Consortium, 12th Annual Legislative
             Breakfast, Milwaukee, WI, January 1995.

        194. “Firearm Violence: A Public Health Issue.” Marquette University College of Nursing, Milwaukee, WI, January 1995.

        195. “Handgun Violence as a Public Health Problem in our Community.” Social Development Commission, November
             1994.

        196. “Integrated Firearm Injury Reporting System: A Model for Communities.” Second Annual HELP Conference,
             Chicago, IL, October 1994.

        197. “Violence and Firearms: Reshaping the Discussion and Restructuring the Prevention Strategies.” Forum on Youth
             Violence Conference, Wisconsin AODA Education Network, Stevens Point, WI, October 1994.

        198. “Injury Control and Emergency Medicine.” American College of Emergency Physicians Scientific Assembly,
             Orlando, Florida, September 1994.

        199. “Trauma Systems.” American College of Emergency Physicians Scientific Assembly, Orlando, Florida, September
             1994.

        200. “Firearm Injury and Death Problems in the United States, Wisconsin, and Milwaukee.” Wisconsin Coroners &
             Medical Examiners Association, Oshkosh, WI, June 1994.

        201. “Firearm Injuries and Deaths: Reshaping the Discussion.” Department of Emergency Medicine, University of
             Missouri-Kansas City School of Medicine, Kansas City, MO, June 1994.

        202. “Injury Prevention and Control and Emergency Medicine.” Department of Emergency Medicine, University of
             Missouri-Kansas City School of Medicine, Kansas City, MO, June 1994.

        203. “The Science of Injury Prevention: A Framework for Violence Prevention.” The University of Wisconsin -
             Milwaukee, School of Nursing, Continuing Education and Outreach Program, Milwaukee, WI, March 1994.

        204. "Firearm Injuries and Deaths: Reshaping the Discussion." Columbia Hospital Grand Rounds, Milwaukee, WI,
             February 1994.

        205. “Injury Patterns of Motor Vehicle Crashes." Wisconsin EMT Association Annual Conference, Milwaukee, WI,
             January 1994.
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        206. "Firearm Injuries and Deaths: Reshaping the Discussion." Milwaukee Forum, Milwaukee, WI, November 1993.

        207. "Alcohol and Medicine: An Emergency Medicine Perspective." Association of American Medical Colleges,
             Washington, DC, November 1993.

        208. "Handguns: Taking Aim at the Problem." Emergency Nurses Association Annual Meeting, LaCrosse, WI,
             September 1993.

        209. “Violence and the Elderly." Wisconsin Chapter American College of Emergency Physicians Annual Conference,
             LaCrosse, WI, September 1993.

        210. "Advocacy in Public Health Workshop." Wisconsin Public Health Association Annual Conference, Appleton, WI,
             June 1993.

        211. "State of the Art Session on Injury Control." Society for Academic Emergency Medicine, San Francisco, CA, May
             1993.

        212. "Injury Prevention: A Crucial Aspect of Travel Medicine." Third Biennial International Travel Medicine Society
             Meeting. Paris, France, April 26, 1993.

        213. "Firearms Deaths and Injuries." Emergency Nurses Association - Milwaukee Chapter, Milwaukee, WI, January
             1993.

        214. "Facial Injuries: Epidemiology, Acute Care, and Prevention." Wisconsin Emergency Medical Technician
             Association Annual Meeting, Milwaukee, WI, January 1993.

        215. "Boating Injuries and Deaths: Challenges for Emergency Medical Services." American Trauma Society - Wisconsin
             Division, Stevens Point, WI, December 1992.

        216. “Firearm Injuries: Public Policy Issues, Data Sources for Firearms Injuries.” American Public Health Association,
             Washington, DC, November 1992.

        217. “Data Sources for Firearms Injuries: Problems and Opportunities.” Milwaukee Academy of Medicine, Milwaukee,
             WI, November 1992.

        218. "EMTs and Injury Prevention: It's in our job description." American Trauma Society - Wisconsin Division,
             Milwaukee, WI, December 1991.

        219. "Firearms and Children." Wisconsin Nurse Practitioners Conference, Madison, WI, November 1991.

        220. "Drownings: Acute care and prevention." American Red Cross - Milwaukee Chapter, Milwaukee, WI, January
             1991.

        221. "Fire-safe cigarettes." Illinois Public Health Association, Chicago, IL, May 1990.

        222. "Travel-related mortality." Travel Medicine Update Conference, Seattle, WA, May 1990.

        223. "Travel-related illness - Where have you been lately?" Wisconsin Chapter, American College of Emergency
             Physicians, October 12, 1989.

        224. "Travel-related mortality." Travel Medicine Conference, Seattle, WA, May 1988.

        225. "Motor Vehicle Crashes and Seat Belts." Beloit Memorial Hospital, May 1987.
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      Exhibits:

                  1.      Producer: Photograph Exhibit - "Portraits of the Silent Epidemic" - Head Injury in Wisconsin, 1988.


      Medical College Committees:

                  Chair, Global Health Advisory Council, 2014-2019

                  Chair, Milwaukee Regional Medical Center Strategic Planning for Global Health, 2014- 2015

                  Chair, Global Health Department Liaisons, 2011- present

                  Board Member, Medical College Physicians, 2000- 2017

                  MCP Finance Committee, 2005-2007

                  Froedtert Credential Committee, 2005-2007

                  Chair, Global Health Program Advisory Council, 2010-2011

                  Member Department of Medicine Search Committee, Medical College of Wisconsin, 2000

                  Froedtert & Medical College Joint Management Cabinet, 1997-2000

                  Faculty Career Development Advisory Committee, Medical College of Wisconsin, 1998 - 2003

                  Chair, Ad Hoc Committee for M3/M4 Curriculum, 1998

                  Intramural Review Committee, Department of Medicine, Medical College of Wisconsin, 1999

                  Intramural Review Committee, Department of Family Medicine, Medical College of
                   Wisconsin, 1997

                  Clinical Practice Group Committee, Medical College of Wisconsin, 1995 - 2000

                  Curriculum and Evaluation Committee, Medical College of Wisconsin, 1998 – 2000

                  Executive Committee of the Faculty, Medical College of Wisconsin, 1994 – present

                  Nominating Committee - Medical College of Wisconsin, 1992 – 1995


      Medical College Teaching:

      1.          MCW Faculty’s Efforts in Low- and Middle-Income Countries” PhD in Public and Community Health
                  Seminar, January 10, 2018

      2.          “MCW’s Impact on the World: From Milwaukee, Wisconsin to Around the Globe”, Asthma/Allergy, and
                  Clinical Immunology Grand Rounds, Children’s Hospital of Wisconsin, September 22, 2017
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      3.    “Global Health Electives: What to Consider with International Travel Health and Wellness” Global Health
            Elective Preparation, September 12, 2017

      4.    “MCW’s Global Health Efforts and Opportunities for Pharmacy” School of Pharmacy, January 16, 2017

      5.    “Global Health Impact” Department of Pediatrics Division of Adolescent Medicine, January 20, 2017

      6.    “Local/Global Lens: Exploring the Impact of Medical Training Experiences in Low-Resource Settings” Pediatrics
            Grand Rounds, December 2, 2016

      7.    “The State of MCW Global Health and Opportunities for Neurosurgery” Neurosurgery Grand Rounds,
            December 2, 2016

      8.    “Global and Local Global Health” Neurology Grand Rounds, December 2, 2016

      9.    “Developing a Medical Elective in Nicaragua” Orthopedic Grand Rounds, November 30, 2016

      10.   “Global Health at MCW” Faculty Council Meeting, October 21, 2015

      11.   “Supporting Faculty’s Global Health Efforts” Administrators Monthly Meeting, September 3, 2015

      12.   “Minimizing GME Global Health Rotation Risk” Graduate Medical Education Committee, April 20, 2015

      13.   “Injury Prevention and Management in Resource Limited Settings” Pediatrics Noon Conference, February 18,
            2015

      14.   “Insight and Direction Global Health Nursing”, Froedtert Global Health Nursing Committee, November 26, 2014

      15.   “Global Health Definitions, Implications”, Physical Medicine and Rehabilitation Grand Rounds, December 5,
            2014

      16.   “Establishing Partnerships to Promote Global Health” PhD in Public and Community Health
            Global Health Seminar, September 29, 2014

      17.   “Promoting Diversity and Inclusion with Global Health Efforts” Diversity and Inclusion Committee, January 28,
            2014

      18.   “Growing a campus-wide Global Health Effort” Froedtert Hospital Operations Committee, Milwaukee,
            Wisconsin, January 22, 2014

      19.   “Growing a campus-wide Global Health Effort” Children’s Hospital and Health System Leadership, Milwaukee,
            Wisconsin December 10, 2013

      20.   “Global Health Program and Faculty Partnerships” Women’s Faculty Council, November 25, 2013

      21.   “Growing Global Health Opportunities” Neurology Faculty Meeting, October 10, 2013

      22.   “M4 Global Health Electives for MCW Students” Global Health Pathway Core Curriculum, April 25, 2013

      23.   “Move toward global health care, what new skills or knowledge will the physicians of the future need to master”
            Docere Panel, January 8, 2013

      24.   “Partnering with Faculty to Grow Global Health” Department of Ophthalmology, November 25, 2012
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      25.   “Global Burden of Injury,” The Clinical and Translational Science Institute Seminar, September 20, 2012

      26.   “Ethical Considerations of Defining Global Health” Bioethics Summer Course Poverty, Justice and Global
            Health, June 6, 2012

      27.   “MCW’s Global Health Program: An Exciting New Development” Pediatric Surgery Grand Rounds, May 4,
            2012

      28.   “Grand Rounds in Injury for the Master Clinician Pathway” M1, M2 & M3 students, Medical College of
            Wisconsin, March 29, 2012.

      29.   “What is the Definition of Global Health” PhD in Public and Community Health Seminar Series, February 14,
            2012

      30.   “Global Burden of Injury,” Global Health Pathway Program, January 5, 2012

      31.   “Injury Prevention and Management in Resource Limited Settings” Pediatrics Noon Conference, November
            30, 2011

      32.   “Growing MCW’s Global Health Program and Opportunities to Engage” Medical College of Wisconsin Global
            Health Organization, Student Interest Group, November 28, 2011

      33.   “Faculty’s Global Health Efforts” Global Health Pathway Program, May 13, 2019. “Wound Ballistics”,
            Emergency Medicine Grand Rounds, Medical College of Wisconsin and Froedtert Hospital, March 10, 2011.

      34.   Health Policy and Physician Advocacy” M4 Selective, Family Medicine, Medical College of Wisconsin,
            February 8, 2011

      35.   “Alcohol and and Youth: Big Problem with a Hospital Based Intervention”, Pediatric Trauma Grand Rounds,
            Children’s Hospital and Health System, May 12, 2010

      36.   “Reducing the Public Health Burden of Suicide: A View from the Room” for Department of Psychiatry and
            Behavioral Medicine Grand Rounds, Wheaton Franciscan Healthcare, Wauwatosa, WI, March 18, 2009

      37.   “Alcohol Related Illness in the ED”, Emergency Medicine Grand Rounds Lecture, Medical College of
            Wisconsin and Froedtert Hospital, December, 2008

      38.   “Department Administrator Update”, Emergency Medicine Grand Rounds Lecture, Medical College of
            Wisconsin and Froedtert Hospital, October, 2008

      39.   “Firearm Related Injury: Myths, Physiology & Epidemiology”, Pediatric Trauma Grand Rounds, Children’s
            Hospital of Wisconsin, December 4, 2007

      40.   “Gunshot Wounds: An Integrated Approach to a Biosocial Disease”, Integrated Grand Rounds, Medical
            College of Wisconsin, November 2, 2007

      41.   “Wound Ballistics”, Emergency Medicine Grand Rounds Lecture, Medical College of Wisconsin and
            Froedtert Hospital, July, 2008

      42.   “Injury Prevention”, Emergency Medicine Grand Rounds Lecture, Medical College of Wisconsin and
            Froedtert Hospital, July 5, 2007

      43.   “Emergency Medicine Update”, Grand Rounds Lecture, Medical College of Wisconsin and Froedtert Hospital,
            July 13, 2006
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                                                                           Stephen W. Hargarten, MD, MPH
      44.   “Firearm suicide: The Wisconsin experience 2000”, 10th Annual Emergency Medicine Research Forum, Medical
            College of Wisconsin, April 16, 2002

      45.   “Comprehensive Injury Center at MCW”, EPI Seminar Series, Medical College of Wisconsin, October 18, 2001

      46.   “Advanced Trauma Life Support”, Instructor, Medical College of Wisconsin and Froedtert Hospital, June 21,
            2000

      47.   “Acute Trauma Care & Prevention”, AIM Program, Medical College of Wisconsin, Milwaukee, WI, August, 1996,
            1997, 1998, 1999

      48.   “Epidemiology of Unintentional and Intentional Injuries”, Course Director, Medical Student Lecture, Medical
            College of Wisconsin Graduate School, Milwaukee, WI, February-April 1998

      49.   “Bags, Belts, and Bruises”, Emergency Medicine Grand Rounds, Medical College of Wisconsin, Milwaukee, WI,
            February 13, 1997

      50.   “Mechanism of Injury”, Trauma Nurse Specialist Course, Flight for Life, Milwaukee Regional Medical Center,
            Milwaukee, WI, January 29, 1997

      51.   “Firearm Injuries and Deaths,” Department of Epidemiology, medical student lecture, Medical College of
            Wisconsin, Milwaukee, WI, 1995, 1996, 1997, 1998, 1999

      52.   “Firearm Injury Epidemiology,” Epidemiology seminar of the Health Policy Institute, Medical College of
            Wisconsin, Milwaukee, WI, September 1996

      53.   “Propeller Injuries,” Flight for Life Lecture, Medical College of Wisconsin, Milwaukee, WI, March 1996

      54.   “Mechanisms of Injury”, Trauma Nurse Specialist Course. Flight for Life, Milwaukee Regional Medical Center,
            Milwaukee, WI, February 1996

      55.   “Scope and Nature of the Firearm Injury and Death Problem”, Fourth Annual Firearms Seminar, Froedtert
            Memorial Lutheran Hospital, Milwaukee, WI, January 1996

      56.   “Violence as a Public Health Issue,” First Annual Forum - The Changing Urban Health Care Environment:
            Ethical Implications, Sponsored by the Center for Ethics Studies, Marquette University, and the Center for the
            Study of Bioethics at the Medical College of Wisconsin, November 1995

      57.   “Issues & Challenges of Gunshot Wound Research”, J. (Deke) Farrington, MD, Trauma Visiting
            Professorship presented by the Section of Trauma & Emergency Surgery of the Medical College of
            Wisconsin, the American Trauma Society (Wisconsin Division), ACS Wisconsin Committee on Trauma,
            and Flight for Life, Milwaukee, WI, November 1995

      58.   “Firearm Injuries and Deaths: Epidemiology and Prevention”, Pathology lecture to medical students. Medical
            College of Wisconsin, Milwaukee, WI, November 1995

      59.   “Patterns of Injury and Opportunities for Prevention.” Milwaukee Regional Medical Complex, Flight for Life,
            Milwaukee, WI, March 1995

      60.   “Trauma Systems: Where Does Emergency Medicine Fit In?”, Emergency Medicine Grand Rounds, Medical
            College of Wisconsin, Milwaukee, WI, December 1994

      61.   “Wound Management.” Medical Student Lecture/Workshop, Medical College of Wisconsin, Milwaukee, WI,
            December 1994, 1995, 1996, 1997, 1998, 1999
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                                                                           Stephen W. Hargarten, MD, MPH
      62.       “Trauma Systems: Who, What, Where?”, Surgery Grand Rounds, Medical College of Wisconsin, Milwaukee,
                WI, November 1994

      63.       “Firearm Injury and Death Problems in the United States, Wisconsin, and Milwaukee," Medical College of
                Wisconsin (Firearms Seminar) January 1994

      64.       “Injury Prevention.” Department of Pediatrics Research Seminar Series, Medical College of Wisconsin,
                Milwaukee, WI, January 1994

      65.       POMP Students, 1992 – 1994

      66.       Biostatistics & Epidemiology Course, First Year Medical Students at the Medical College of Wisconsin, March
                1993

      67.       Introduction to Clinical Medicine Lecture, Junior Medical Students, July 1993

      68.       Advanced Trauma Life Support Instructor/Shock Lecture, Medical College of Wisconsin, June 1993

      69.       Advanced Cardiac Life Support Instructor/Airway Management, Dysrhythmia Recognition, Medical College of
                Wisconsin, June 1993

      70.       Biostatistics Course Lecturer, Freshman Students, March 1993

      71.       “Alcohol and Health: Emergency Medicine View from the Bottom of the Bottle." Medical College of Wisconsin
                Emergency Medicine Grand Rounds, Milwaukee, WI, December 7, 1993

      72.       “The Epidemiology of Firearm Deaths and Injuries." Surgery Grand Rounds, Froedtert Memorial Lutheran
                Hospital, Milwaukee, WI, July 1993

      73.       “Firearm Deaths and Injuries: Lessons from the 1960s and the Corvair." Health Policy Institute Seminar,
                Medical College of Wisconsin Alumni Center, Milwaukee, WI, June 10, 1993

      74.       “Mechanisms of Injury", Trauma Nurse Specialist Course: Flight for Life, Milwaukee, WI, March 1993

      75.       “Firearms and Children", Children's Hospital of Wisconsin Grand Rounds, Milwaukee, WI, July 1992

      76.       Introduction to Advanced Cardiac, Life Support, Junior Students, July 1992

      77.       Wound Management Course, Junior Students, 1991 – present

      78.       Basic Trauma Life Support Course Director, 1989 1990, 1991, 1991


                                                         BIBLIOGRAPHY
      Original Papers:

            1. Schneider, R.J., Willman, J., & Hargarten, S. (2023) Linking Police and EMS Records: An Approach to
               Strengthen Bicyclist Injury Reporting. Transportation Research Record, 03611981221151073.

            2. Kohlbeck, S. A., Quinn, K., deRoon-Cassini, T., Hargarten, S., Nelson, D., & Cassidy, L. (2022, December
               22). “I’ve Given Up”: Biopsychosocial Factors Preceding Farmer Suicide in Wisconsin. American Journal of
               Orthopsychiatry. Advance online publication. https://dx.doi.org/10.1037/ort0000662
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                                                                             Stephen W. Hargarten, MD, MPH
        3. Timmer-Murillo, S.C., Schroeder, M.E., Trevino, C., Geier, T., Schramm, A.T., Brandolino, A.M., Hargarten,
           S., Holena, D., deMoya, M., Milia, D., & deRoon-Cassini, T.A. (In Press). Comprehensive Framework of
           Firearm Violence Survivor Care: A Review. JAMA Surg.

        4. Girasek, D.C., Hargarten, S. (2022). Prevention of and Emergency Response to Drowning. N Engl J Med
           2022;387:1303-8.

        5. Sakran, J.V., Hargarten. S., Rivara, F.P. (2022). Coordinating a National Approach to Violence Prevention. JAMA,
           Sept. 28, 2022 Volume 328, Number 12

        6. Ehrlich, P.F., Pulcini, C.D., De Souza, H.G. Hall, M., Andrews, A., Zima, B.T., Fein, J.A., Chaudhary, S., Hoffmann,
           J.A., Fleegler, E.W., Jeffires, K.N., Goyal, M.K., Hargarten, S., Alpern, E.R. (2022). Mental Healthcare Following
           Firearm and Motor Vehicle Related Injuries: Differences Impacting Our Treatment Strategies. Ann Surg. 2022 June
           28. doi: 10.1097/SLA.0000000000005557. Online ahead of print.PMID: 35762587

        7. Wyler, B.A., Young, H. M., Hargarten, S.W., Cahill, J.D. (2022) Risk of deaths due to injuries in travellers: A
           systematic review. J Travel Med 29.5 (2022): taac074.

        8. Kohlbeck, S., Schramm, A., deRoon-Cassini, T., Hargarten, S., Quinn, K. (2022). Farmer Suicide in Wisconsin: A
           Qualitative Analysis. Journal of Rural Health. Summer 2022. Volume 38, Issue 3: 546-553.

        9. Barron, A., Hargarten, S., & Webb, T. (2021). Gun violence education in medical school: a call to action. Teaching
           and learning in medicine 34.3 (2022): 295-300.

        10. Dunton, Z. R., Kohlbeck, S. A., Lasarev, M. R., Vear, C. R., & Hargarten, S. W. (2021). The association between
            repealing the 48-hour mandatory waiting period on handgun purchases and suicide rates in Wisconsin. Archives of
            suicide research 26.3 (2022): 1327-1335.

        11. Kohlbeck, S., Levas, M., Hernandez-Meier, J., & Hargarten, S. (2021). Implementing the Cardiff Model for violence
            prevention: using the diffusion of innovation theory to understand facilitators and barriers to implementation. Injury
            Prevention 28.1 (2022): 49-53.

        12. Dunton, Z., Hargarten, S., Kohlbeck, S., & Osman, F. (2021). Homicide: a leading cause of death for black non-
            hispanics in Wisconsin. WMJ (Wisconsin medical journal), 120(S1), S6-S9.

        13. Kohlbeck, S., deRoon-Cassini, T., Levas, M., Hargarten, S., Kostelac, C., Totoratis, M., ... & Smith, J. (2021).
            Multidisciplinary data-sharing for community violence prevention: shifting power to the community. Injury prevention
            27.Suppl 3 (2021): A4-A4.

        14. Martin, I. B., & Hargarten, S. (2020). The antiracist, propatient pledge of emergency medicine. Academic
            Emergency Medicine, 27(9), 932-933.

        15. McDougall, S., Annapureddy, P., Madiraju, P., Fumo, N., & Hargarten, S. (2020, December). Predicting Opioid
            Overdose Readmission and Opioid Use Disorder with Machine Learning. In 2020 IEEE International Conference on
            Big Data (Big Data) (pp. 4892-4901). IEEE.

        16. Hargarten, S. W. (2020). The Bullets He Carried. Western Journal of Emergency Medicine, 21(5), 1036.

        17. Kohlbeck, S, Hargarten, S, Cassidy, L. (2020). Age- and Sex-Specific Risk Factors for Youth Suicide: A
            Mixed Methods Review. WMJ 119.3 (2020): 165-170.

        18. Zosel, A., Kohlbeck, S., Davis, C. S., Meurer, L., & Hargarten, S. (2020). Medical student education for injury
            prevention: closing the gap. Injury Prevention 27.2 (2021): 201-205.
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        19. Kohlbeck, S, Fumo, N, Hargarten, S. (2020). Systems Change for Suicide Prevention Among Adolescents: A Rural
            Wisconsin County Approach. Injury Prevention 27.2 (2021): 131-136.

        20. Bonk C, Weston B, Davis C, Barron A, McCarty O, Hargarten S. (2019). Saving Lives with Tourniquets: A Review
            of Penetrating Injury Medical Examiner Cases. Prehospital Emergency Care:
            DOI: 10.1080/10903127.2019.1676344

        21. Hernandez-Meier J, Akert B, Zheng C, Guse C, Layde P, Hargarten S. (2019). Status of Legal Firearm Possession
            and Violent Deaths: Methods and Protocol for a Retrospective Case-Control Study. Injury Prevention 25.Suppl 1
            (2019): i49-i58.

        22. Hargarten SW, Lerner EB, Gorelick M, Brasel K, deRoon-Cassini T, Kohlbeck S. Gun Violence: A
            Biopsychosocial Disease. Western Journal of Emergency Medicine: Integrating Emergency Care with
            Population Health, 2018; 19(6), 1024-1027.

        23. Levas M, Hernandez-Meier J, Kohlbeck S, Piotrowski N, Hargarten S. Integrating Population Health
            Data on Violence into the Emergency Department: A Feasibility and Implementation Study. Journal
            of Trauma Nursing: May/June 2018 – Vol 25 – Issue 3/149-158

        24. Rajan S, Branas CC, Hargarten S, Allegrante JP: Funding for Gun Violence Research Is Key to the
            Health and Safety of the Nation. American Journal of Public Health, Am J Public Health. 2018
            Feb;108(2):194-195. doi: 10.2105/AJPH.2017.304235. PMID: 29320291

        25. Hargarten, S: Firearm Injury in the United States: Effective Management Must Address Biophysical and
            Biopsychosocial Factors. Ann Intern Med. 2016 Dec 20;165(12):882-883. doi: 10.7326/M16-2244. Epub
            2016 Oct 18. PMID: 27750331

        26. Bloemen EM, Rosen T, Schiroo JC, Clark S, Mulcare MR, Stern ME, Mysliwie R, Flomenbaum NE, Lachs
            MS, Hargarten S. Photographing injuries in the acute care setting: Development and evaluation of a
            standardized protocol for research, forensics, and clinical Practice. Acad Emerg Med May 2016; 23(5):653-
            9. Doi:10.1111/acem.12955. Epub 2016 Apr 13.

        27. Rosen T, Hargarten S, Flomenbaum NE, Platts-Mills TF. Identifying elder abuse in the Emergency
            Department: Toward a multi-disciplinary team-based approach. Ann Emerg Med; 63(3):378-82; Sept 2016.

        28. Guse CE, Hargarten S. Limitations of travel data for rate computations. Injury Prevention: Journal of the
            International Society for Child and Adolescent Injury Prevention. 2015; 21(e1):e153.

        29. Vu A, Duber HC, Sasser SM, Hansoti B, Lynch C, Khan A, Johnson T, Modi P, Clattenburg EJ, Hargarten S.
            Emergency Care Research Funding in the Global Health Context: Trends, Priorities, and Future Directions.
            Academic Emergency Medicine December 2013 20(12):1259-63.

        30. Myers SR, Salhi RA, Lerner EB, Gilson R, Mehrotra A, Kraus A, Kelly JJ, Hargarten S, Carr BG: Pilot Study
            Describing Access to Emergency Care in 2 States Using a Model Emergency Care Categorization System.
            Academic Emergency Medicine Volume 20, Issue 9, pages 894–903, September 2013.
        31. Hanlin ER, Delgado-Rendón A, Lerner EB, Hargarten S, Farías R: Fall Risk and Prevention Needs
            Assessment in an Older Adult Latino Population: A Model Community Global Health Partnership. Progress
            in Community Health Partnerships: Research, Education, and Action 2013; 7(2):191-9.

        32. Kowalenko T, Gore R, Sachs CS, Barata IA, Gates D, Hargarten SW, Josephson EB, Kamat S, Kerr HD,
            McClain A, Cunningham RM. Workplace Violence in Emergency Medicine: Current Knowledge and Future
            Directions, Journal of Emergency Medicine 43.3 (2012): 523-531.

        33. Galvin S, Robertson R, Hargarten S. Injuries Occurring in Medical Students during International Medical
            Rotations: A Strategy towards Maximizing Safety. Family Medicine 2012; Jun 44(6):404-7.
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                          EXHIBIT B
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              Crime Lab Tests



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          Thompson .45 Auto




Exit Velocity: 212.4 m/s                                           Entrance Velocity: 292.6 m/s
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              Thompson .45 Auto




Lateral view. Bullet travelled right to left.            Bottom view. Bullet travelled right to left.
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Thompson .45 Auto
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   II
MARQUETTE     5.56 NATO
                                                                                                  -
                                                                                                 MEDICAL
                                                                                                 COLLEGE
                                                                                                       IN
 UNIVERSITY




   Exit Velocity: 208.8 m/s                                           Entrance Velocity: 826.0 m/s
                Case No. 1:22-cv-02680-NYW-SKC Document 78-10 filed 10/20/23 USDC Colorado pg 66
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   II
MARQUETTE      5.56 NATO
 UNIVERSITY




 Lateral view. Bullet travelled right to left.            Bottom view. Bullet travelled right to left.
                               Case No. 1:22-cv-02680-NYW-SKC Document 78-10 filed 10/20/23 USDC Colorado pg 67
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MARQUETTE
             II              5.56 NATO
           UNIVERSITY

           5000
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                                                                                                                      -Rear

           4000



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                               Bullet enters gel


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                                                                    Time [ms]
              Case No. 1:22-cv-02680-NYW-SKC Document 78-10 filed 10/20/23 USDC Colorado pg 68
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   II
MARQUETTE     .30-06
 UNIVERSITY




   Exit Velocity: 358.8 m/s                                           Entrance Velocity: 796.0 m/s
                Case No. 1:22-cv-02680-NYW-SKC Document 78-10 filed 10/20/23 USDC Colorado pg 69
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   II
MARQUETTE      .30-06
                                                                                                       -
                                                                                                   MEDICAL
                                                                                                   COLLEGE
                                                                                                   0
 UNIVERSITY




 Lateral view. Bullet travelled right to left.            Bottom view. Bullet travelled right to left.
                    Case No. 1:22-cv-02680-NYW-SKC Document 78-10 filed 10/20/23 USDC Colorado pg 70
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MARQUETTE
       UNIVERSITY
                    .30-06                                                                                   MEDICAL
                                                                                                             COLLEGE
                                                                                                            OFWI

       4000�----------�
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                     Bullet enters gel




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                                                          Time [ms]
              Case No. 1:22-cv-02680-NYW-SKC Document 78-10 filed 10/20/23 USDC Colorado pg 71
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   II
MARQUETTE
 UNIVERSITY
Case No. 1:22-cv-02680-NYW-SKC Document 78-10 filed 10/20/23 USDC Colorado pg 72
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Summary
